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   1                       UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
   2
                        CASE NO.:18-CV-24100-COOKE/GOODMAN
   3
   4
   5      DIGNA VINAS,
   6               Plaintiff,
   7      vs.
   8      THE INDEPENDENT ORDER OF
          FORESTERS,
   9
                   Defendant.
  10      _________________________/
  11              TELECONFERENCE VIDEOTAPED DEPOSITION OF
  12                            DOUG PARROTT
  13
  14                     Taken on Behalf of the Plaintiff
  15
            DATE TAKEN: Tuesday, October 13, 2020
  16
            TIME: 11:08 a.m. - 3:50 p.m.
  17
            LOCATION: Zoom teleconference
  18
  19                  Examination of the witness taken before:
  20
                                 Nancy Smith, RPR
  21                          Veritext Legal Solutions
                       2 South Biscayne Boulevard, Suite 2250
  22                              Miami, FL 33131
  23
  24
  25

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   1
   2                              APPEARANCES
   3
          For the Plaintiff:
   4
               CRAIG M. GREENE, ESQ. (Appearing via Zoom)
   5           KRAMER, GREEN, ZUCKERMAN, GREENE & BUCHSBAUM, P.A.
               4000 Hollywood Boulevard, Suite 485-S
   6           Hollywood, FL 33021
   7      For the Defendant:
   8           KRISTINA B. PETT, ESQ. (Appearing via Zoom)
               McDOWELL HETHERINGTON LLP
   9           2101 N.W. Corporate Boulevard, Suite 316
               Boca Raton, FL 33431
  10
          Also Present:
  11
                IAN COLLINS, ESQ.
  12            LAUREN ALLEN
                MICHAEL KENNEDY, Videographer
  13
                              I N D E X
  14
          DEPOSITION OF DOUG PARROTT                           PAGE NO.
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   1                  THE VIDEOGRAPHER: We are on the record.           We
   2      are today October 13, 2020. The time on the video
   3      monitor is 11:08 a.m. for the videotaped deposition of
   4      Doug Parrott.    Case style is Digna Vinas versus The
   5      Independent Order of Foresters. At this time will
   6      Counsel please state their appearances for the record.
   7                  MR. GREENE:     Good morning, this is Craig
   8      Greene on behalf of the Plaintiff, Digna Vinas.
   9                  MS. PETT:    Good morning, Kristina Pett on
  10      behalf of the Defendant, The Independent Order of
  11      Foresters.
  12                  THE VIDEOGRAPHER: Will you please swear in
  13      the witness.
  14                  THE COURT REPORTER: Will the witness please
  15      say and spell your first and last name for the record.
  16                  THE WITNESS: Doug Parrott, D-o-u-g,
  17      P-a-r-r-o-t-t.
  18                  THE COURT REPORTER: Will the witness now
  19      please repeat the following declaration for the record.
  20      I declare my testimony in this matter.
  21                  THE WITNESS: I declare my testimony in this
  22      matter.
  23                  THE COURT REPORTER: Is under penalty of
  24      perjury.
  25                  THE WITNESS: Is under penalty of perjury.

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   1                   THE COURT REPORTER: The witness having
   2      declared that his testimony in this matter is under
   3      penalty of perjury, the parties have stated their
   4      agreement for the record.         You may proceed.
   5                           DIRECT EXAMINATION
   6                   BY MR. GREENE:
   7             Q.    Please give us your name and address.
   8             A.    Doug Parrott,                REDACTED

   9      Kansas City, Missouri 64157.
  10             Q.    Mr. Parrott, my name is Craig Greene and over
  11      what I anticipate will be the next several hours I'll
  12      be taking your deposition.         That means I'll be asking
  13      you questions and looking to you for answers.            If at
  14      any time you don't understand any of my questions
  15      please let me know, I'll be glad to reask the question,
  16      rephrase the question or do whatever it takes so you
  17      understand the question I'm asking and you're giving me
  18      an answer accordingly. I need you to answer all
  19      questions out loud with a yes, a no, an I don't know or
  20      some other verbal response because uh-huhs, u-hums,
  21      shakes of the head, or other non-verbal responses,
  22      although your intent will be probably be captured on
  23      the video, it won't come across well on the formal
  24      record being kept by Ms. Smith our court reporter.
  25                  Experience has shown that probably one of the

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   1      more difficult instructions to follow is I need you to
   2      let me finish asking my question in its entirety before
   3      you begin to answer.      The reason that becomes difficult
   4      is that in normal conversation you know what the last
   5      two or three words of my question are going to be
   6      through context, just what our conversation is leading
   7      to, you know what I'm asking, you will give me an
   8      answer, I'll be on my way and we will never see each
   9      other again.    But because we are in a formal setting
  10      here of a deposition we need to have a full question
  11      and a full answer.     I'm sure you've seen depo
  12      transcripts before?
  13             A.   Yes.
  14             Q.   Okay.   So that's what we need, a full
  15      question and full answer.         So in addition while it
  16      doesn't look like we have a terrible delay here,
  17      sometimes with these Zoom meetings you get a little bit
  18      of a delay and it becomes an issue, so we will try and
  19      make sure that you let me finish asking my question
  20      before you begin answering.          The last point is I take
  21      breaks pretty frequently, like about once an hour or
  22      so.    But if my break schedule doesn't fit with your
  23      break schedule or your break needs, just let me know
  24      and we will take a break whenever you all need it. And
  25      Madam Court Reporter, that goes for you too, we don't

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   1      expect you to be a heroine.          If in between questions
   2      you go ahead and you say, you know, I could really use
   3      a break feel then feel free to ask and we will take
   4      one.
   5                  THE COURT REPORTER: Yes.
   6                  MR. GREENE: Let the record reflect the court
   7      reporter nodded yes.
   8                  BY MR. GREENE:
   9             Q.   Mr. Parrott, by whom are you employed, sir?
  10             A.   Independent Order of Foresters doing business
  11      as Foresters Financial.
  12             Q.   And what is the Independent Order of
  13      Foresters?
  14             A.   The Independent Order of Foresters is a life
  15      insurance carrier covering business across both sides
  16      of the border in Canada and the U.S., life insurance
  17      business, individual life insurance business.
  18             Q.   You guys are a life insurance company?
  19             A.   Correct.
  20             Q.   What do you do for them?
  21             A.   I'm the chief underwriting officer for both
  22      the U.S. and the Canadian company.
  23             Q.   Is that your formal title, chief underwriting
  24      officer?
  25             A.   Correct, it is.

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   1             Q.   I'm going to ask you, if you would please, to
   2      give me the benefit of your education and experience
   3      throughout your career working backwards, starting with
   4      where you are now and then working backwards with the
   5      various positions you've held right back -- we will
   6      work our way through to college, and just tell me the
   7      positions you've held and I'll break you up in the
   8      middle there to find out how long you have been in
   9      certain positions.     Do you understand the question?
  10             A.   Yes.
  11             Q.   Okay.   Please.     How long -- go ahead.
  12             A.   I'm sorry.
  13             Q.   How long have you been chief underwriting
  14      officer?
  15             A.   I've been a chief underwriting officer at
  16      Foresters for six and a half years.
  17             Q.   And prior to that?
  18             A.   I was the chief underwriting officer for
  19      Americo Group in Kansas City for almost 11 years, 10
  20      years and -- I'm sorry, 10 years, 9 years and 11
  21      months.
  22             Q.   America Group?
  23             A.   Correct.   A-m-e-r-i-c-o.
  24             Q.   Oh, Americo?
  25             A.   Americo.

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   1             Q.     Okay.   And is Americo Group also a life
   2      insurance company?
   3             A.     They are.
   4             Q.     And so same title, different company, what
   5      position did you hold prior to that?
   6             A.     I was an operations officer with Principal
   7      Financial Group in Des Moines, Iowa.
   8             Q.     Operations officer, okay, with Principal
   9      Financial Group.       What is Principal Financial Group?
  10             A.     A life insurance carrier, life insurance and
  11      investment company.
  12             Q.     And how long did you hold that position?
  13             A.     About three years.
  14             Q.     And what did you do before that?
  15             A.     Prior to that I was with Irish Life of North
  16      America in Des Moines for roughly almost 11 years
  17      working in the underwriting areas and the new business
  18      areas.      I was an officer vice president there.
  19             Q.     So your position was officer vice president,
  20      but you worked in -- was it two different areas or was
  21      it two different things while you had one position, you
  22      helped him with that?
  23             A.     I was in the underwriting area, I led one of
  24      the underwriting teams and I was responsible for the
  25      underwriting practice for about nine and a half years

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   1      or so and then I was asked to take over new business
   2      and then I took over new business for about the last
   3      year and a half or so that I was there.
   4             Q.   And then you went to Principal?
   5             A.   Correct.
   6             Q.   Okay.   And what did you do before that?
   7             A.   Before that I was an underwriter with
   8      National Travelers Life in Des Moines, a life insurance
   9      carrier.
  10             Q.   I didn't ask you because it seemed kind of
  11      obvious, but I assume Irish Life of North America was a
  12      life insurance company?
  13             A.   I'm sorry, yes, it was.
  14             Q.   I didn't ask you, it was my bad, not yours.
  15      And how long were you with Underwriters National
  16      Travelers?    I'm sorry, how long were you with National
  17      Travelers Life?
  18             A.   About two and a half years roughly, maybe
  19      almost three years.
  20             Q.   Okay. Two and a half to three years and you
  21      were an underwriter?
  22             A.   Correct.
  23             Q.   And prior to that, sir?
  24             A.   That goes back to the first company I worked
  25      for out of college, a company called American Republic

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   1      also in Des Moines and I was in underwriting.
   2             Q.   For, approximately, how long?
   3             A.   That was a long way back.
   4             Q.   Just give me a range.
   5             A.   Two to three years.
   6             Q.   Okay. Great.     Where did you go to college?
   7             A.   Minnesota State University in Mankato,
   8      Minnesota.
   9             Q.   Did you get a Bachelors, Masters, what did
  10      you do?
  11             A.   Bachelors degree in finance management.
  12             Q.   Did you go from one position to the next in
  13      all of these job transitions or were there any times
  14      that you had, let's just say, more than a month or two
  15      off?
  16             A.   No.   One position to the next in accelerating
  17      roles.
  18             Q.   Understood. What do you mean when you say
  19      accelerating roles?
  20             A.   Every role that I took was either for a
  21      promotion and responsibilities.            In the early part of
  22      my career it was a promotion of salary and then as my
  23      career got on it was a promotion and responsibilities.
  24      I went from America to Foresters to get the
  25      international experience working with Canadian company

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   1      that I didn't have.
   2             Q.   Basically, you're telling me that your
   3      changes were all to advance yourself?
   4             A.   That's correct.
   5             Q.   Either financially, professionally or both?
   6             A.   That's correct.
   7             Q.   Okay.   Underwriting, when we use the term
   8      generically, can be both underwriting to determine if a
   9      particular insured is going to be accepted by the
  10      company or it also involves sometimes writing the
  11      policies.    Did you partake in either of those two and
  12      if so please explain?
  13             A.   Define what you mean by writing the policies,
  14      what's that mean?
  15             Q.   I worked with underwriters in the past where
  16      they are actually changing the language or policy,
  17      that's part of what they do.          They actually say we are
  18      going to take a policy that's been approved and we are
  19      going to alter it, we are going to change the terms,
  20      it's part of what underwriters do.              Is that your
  21      understanding as well?
  22             A.   Not in the firms I have worked for.
  23      Underwriting doesn't have the ability nor the authority
  24      to change the terms of the contract, only the president
  25      and the secretary of the company do.

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   1             Q.   Then I wasn't clear with my question.           I
   2      wasn't saying changing the terms of the contract of an
   3      already existing contract, I was saying the company
   4      decides that it's going to put out a new product, for
   5      example, or they are going to change an existing
   6      product.    And they ask the underwriters to please put
   7      together something that they will then run by the
   8      various state commissioner's offices and try and sell,
   9      that's what I meant by underwriting, I didn't mean
  10      change something in existence.           Would you call that
  11      underwriting as well or do you call that something
  12      different?
  13             A.   No.   Underwriting, that's a responsibility
  14      that I have as the chief underwriter so with respect to
  15      underwriting it's not part of the underwriting
  16      practice, it's a practice that I get involved in as the
  17      head of underwriting and the person who's responsible
  18      for mortality of the business that we write.            And so my
  19      team and my division, unless I delegate some minor
  20      things out to them, they don't get involved in that.
  21      And so to your question that's not underwriting, that's
  22      building product and pricing product.
  23             Q.   So when you say you get involved in it, you
  24      mean you, Doug Parrott, personally get involved in it?
  25             A.   That's correct.

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   1             Q.   And that's only because of the high level
   2      that you achieve?
   3             A.   That's correct.
   4             Q.   You don't delegate that to other
   5      underwriters?
   6             A.   I may delegate some research around something
   7      but I don't delegate the practice of the product
   8      involvement and the pricing involvement to others, no.
   9             Q.   You used two terms a minute ago, one of them
  10      was pricing.    What was it that you used to describe the
  11      development of the product or the creating a new
  12      product?
  13             A.   Building product.
  14             Q.   Building.
  15             A.   Building product and pricing a product.
  16             Q.   Have you been involved in building a product
  17      or pricing products for Foresters?
  18             A.   Yes.
  19             Q.   What products?
  20             A.   On the U.S. side, term, children's whole
  21      life, some of our non-med products.                 Every time that we
  22      have a product that is determined to be necessary to
  23      build by the product group and by actuaries, I don't
  24      make the decision to build a product, I only get
  25      involved with the research and the underwriting advice

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   1      to a product.       And so when those things happen then
   2      that's where I get involved.
   3             Q.      Understood.
   4             A.      I've done the same thing on the Canadian
   5      side, I've done the same thing with our Canadian TPA.
   6             Q.      What are your duties and responsibilities as,
   7      I'm going to use the terms that you've given me, an
   8      underwriting officer, sorry, chief underwriting
   9      officers for Foresters?
  10             A.      My responsibilities go to the underwriting
  11      philosophy, it goes to the ultimate mortality results
  12      that we have.
  13             Q.      I'm taking these down as you say them so just
  14      go a little slower for me.             Underwriting philosophy?
  15             A.      Philosophy, correct.
  16             Q.      What's next?
  17             A.      Mortality results of the underwriting
  18      practice.
  19             Q.      Mortality results of underwriting practice,
  20      okay.       Go ahead.
  21             A.      Again, to what we've just talked about
  22      building and assisting with product --
  23             Q.      Okay.
  24             A.      -- with the rest of our product team and our
  25      pricing actuaries.

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   1             Q.   Yes, sir.
   2             A.   I'm the highest level of escalation there is
   3      for a case question or some question of a particular
   4      case that needs to be vetted out or answered.
   5             Q.   Okay.
   6             A.   I have all the relationships and
   7      responsibilities for the underwriting practice with our
   8      re-insurers.
   9             Q.   Okay. Let me tell you what I got so far and
  10      that way it will help you out with what you've told me.
  11      I've got underwriting philosophy.             I've got mortality
  12      results in the underwriting practice.                I've got
  13      building products that you were the highest level of
  14      escalation for individual case questions, and I've got
  15      relationships and responsibilities with respect to
  16      underwriting issues and re-insurers.                What else do you
  17      got?
  18             A.   Re-insurers, vendors.
  19             Q.   Okay.   Let me ask you a question, any other
  20      responsibilities that you have other than those as the
  21      chief underwriting officer for Foresters?
  22             A.   Hiring and firing underwriters.              The
  23      personnel aspect of those that report directly to me
  24      but I also am responsible for -- the underwriting
  25      division reports to, the day to day tactical reports to

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   1      a colleague of mine and if there's an issue with an
   2      underwriter, good or bad, I am brought into the
   3      conversation.
   4             Q.   Understood.     Anything else?
   5             A.   Representing the company in various industry
   6      organizations that I'm involved in and take part in.
   7             Q.   I called those last two, just because we are
   8      going to go through these again, I called the one right
   9      before this personnel, okay, personnel issues, is that
  10      a good title for you?
  11             A.   Yes.
  12             Q.   Okay.
  13             A.   That's acceptable.
  14             Q.   The last one is industry representation, is
  15      that good?
  16             A.   That's correct.
  17             Q.   Okay.   Anything else you can think of sitting
  18      here today?
  19             A.   No.
  20             Q.   What are the duties and responsibilities of
  21      underwriters that are under your control or your
  22      leadership I should say?
  23             A.   Their job is to assess the risk of individual
  24      life insurance cases ultimately coming up with a
  25      decision as to whether we are going to make an offer,

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   1      not make an offer and if so at what price.
   2             Q.    When you say make an offer, make an offer to
   3      ensure the individual that's applying?
   4             A.    That is correct.
   5             Q.    Do underwriters have any other responsibility
   6      at Foresters other than to assess the risk whether an
   7      insured, a prospective insured will become an actual
   8      insured?
   9             A.    Yes.    For example, the three people that
  10      report directly to me are my data science team.             They
  11      are responsible and help me with the strategic aspect
  12      of underwriting in terms of things that we use or
  13      things that we look into and attempt to use or hoping
  14      to use to enhance our practice.             These days data is a
  15      big thing in underwriting and so I have a data science
  16      team that does a lot of research around that.             We have
  17      two major projects going on right now and I have got
  18      two out of three of those people that are involved
  19      deeply in those two products, in those two projects
  20      rather.     One of my members is responsible solely for
  21      all the audits that go on in underwriting and in our
  22      Canadian TPA.       So that person's job is specifically to
  23      the audit practice that we have in underwriting.
  24             Q.    So basically you've told me about strategic
  25      aspects of underwriting and data management and

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   1      auditing, anything else that underwriters at Foresters
   2      do?
   3             A.   They would get involved in projects or
   4      project help from time to time as necessary either as a
   5      subject matter expert or in the aspect of user testing,
   6      that happens from time to time, but otherwise, no,
   7      their sole responsibility is to make decisions on
   8      cases.
   9             Q.   I was trying to lead you into it a little
  10      bit, but I'll just zone in on it here.              You know what
  11      this case is about, I assume?
  12             A.   I understand we are talking generally about
  13      practices that we engage in our practice, yes.
  14             Q.   Do you have an understanding as to what the
  15      underlying case was that gave rise to where we are
  16      right now with respect to the present cause of action?
  17             A.   I don't have a lot of detail around it, no.
  18             Q.   Okay.   Do you have an understanding that
  19      originally a claim was denied and Foresters attempted
  20      to rescind the policy for an alleged misrepresentation
  21      of the application, do you know that?
  22             A.   I understand that it was with respect to a
  23      claim that was made and then ultimately was paid.
  24      Again, I don't know the detail in the middle of that,
  25      no.

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   1             Q.   So you have never heard from the day that you
   2      joined Foresters right through to today, you have zero
   3      understanding as to the fact that there was a claim by
   4      Foresters that Mr. Vinas had misrepresented facts in
   5      his application and that Foresters attempted to rescind
   6      the policy, you've never heard that before?
   7             A.   No, that's not true.         If I allege that I
   8      apologize.    A number of months, I don't even know how
   9      long ago it was, but when David Sullivan was preparing
  10      for his deposition I was asked some questions regarding
  11      it, so I had some general knowledge of what was
  12      happening, yes.
  13             Q.   Okay.    So did you assist Mr. Sullivan in the
  14      preparation for his deposition?
  15             A.   Only in the questions that he had of me
  16      around underwriting and just general underwriting
  17      practice.
  18             Q.   My point I was trying to get to that got us
  19      here was I do a lot of this, I assume you're obviously
  20      the head honcho of underwriting, there is an
  21      underwriting aspect to a denial for misrepresentation
  22      in an application, is there not?
  23             A.   Say that again please.
  24             Q.   Sure.    I'm trying to get to the meat of it.
  25             A.   Right.

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   1             Q.   Are you familiar with the process by which a
   2      -- if you need to get something, please.
   3             A.   No, I needed to turn the ringer off.
   4             Q.   I'm a big believer in we all have families,
   5      we all have emergencies.        If anything happens just let
   6      me know we will stop, okay?
   7             A.   Sure.
   8             Q.   Are you familiar with the process by which
   9      Foresters processes contestable claims?
  10             A.   I'm familiar with that.
  11             Q.   If I understand correctly without getting
  12      into the minutiae, the claim department will identify a
  13      potential contestable claim, will look to see if there
  14      was any information omitted or wrongfully stated and
  15      then has to check with underwriting to determine if it
  16      would have made a difference in the original
  17      application decision, is that your understanding
  18      generically?
  19             A.   Generically, yes, in some cases.           It doesn't
  20      always -- underwriting is not always asked for an
  21      opinion, but if claims makes that decision to ask for
  22      an opinion, absolutely.
  23             Q.   That's what I was getting at.           I'm just
  24      trying to say in addition to all the things that you've
  25      listed for me that underwriters do, would that be an

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   1      additional thing that underwriters do specifically
   2      assisting claims with respect to determining if a piece
   3      of information that was an omission was material or
   4      not?
   5             A.   Yes.    Not two underwriters -- well, in our
   6      practice it's not two underwriters, we have a specific
   7      underwriter that does that.          We have back up for that
   8      person, we have the same thing on the Canadian side, we
   9      have a back up for that person.
  10             Q.   Okay.    I'm sorry, I didn't mean to interrupt
  11      you, my bad.    Finish your answer.
  12             A.   I was going to say there's a very narrow part
  13      of our team that does that, not everybody does that.
  14             Q.   Okay.    But there is an underwriter who is
  15      part of the underwriting team that is assigned to
  16      assist with contestable claims?
  17             A.   That is correct.
  18             Q.   And that's a single individual?
  19             A.   A single and then that person's back up,
  20      correct.
  21             Q.   Does that person have any other
  22      responsibilities other than assisting with contestable
  23      claims?
  24             A.   Yes.    The assisting with contestable claims
  25      is not a full-time responsibility, so she's also

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   1      underwriting cases when she's not assisting the claims
   2      team.
   3             Q.      Okay.    Tell me if you would please, we are
   4      going to get into what you've done to prepare for this
   5      deposition but I need to know, please, what it is that
   6      you -- well, strike that.            When did you first hear
   7      about the Digna Vinas case?
   8             A.      Around the time that David Sullivan was
   9      preparing for his deposition, this is October, I guess,
  10      seems to me it was some time during this year, early
  11      part of this year.
  12             Q.      Okay.    And what did you do, if anything, to
  13      familiarize yourself with the Digna Vinas case at that
  14      time?       If you spoke with Counsel just say I spoke with
  15      Counsel without telling me the content of that
  16      communication, okay?
  17             A.      Correct.
  18             Q.      Okay.    So I assume you spoke with Counsel,
  19      what else did you do?
  20                     MS. PETT:   Can you clarify, do you mean back
  21      then or now?
  22                     BY MR. GREENE:
  23             Q.      Yes.    Back then.
  24             A.      I had no preparation.          I asked or was asked
  25      questions by David Sullivan of just general

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   1      underwriting practice questions that I recall.             I
   2      didn't look at any documents, I didn't read anything.
   3      There wasn't anything I did other than speak with David
   4      and Counsel.
   5             Q.   That's helpful.       So you never looked at the
   6      Rigoberto Vinas file?
   7             A.   No.   You mean the full file of medical
   8      records and whatever else was retrieved?
   9             Q.   I'll make it easier for you, let's capture it
  10      in a big lump first and then whittle away the lump.
  11      Have you, to this day, ever looked at any aspect of the
  12      Rigoberto Vinas file?
  13             A.   Just the application.
  14             Q.   Okay. When did you look at the application?
  15             A.   Again, back to this time of whenever David
  16      Sullivan had questions for me.
  17             Q.   Okay.   We are going to mess around with a
  18      little bit of technology here.           I am not as good as
  19      your data people I'm sure, so bear with me if I screw
  20      this up, okay?
  21             A.   Sure.
  22             Q.   Have I shared with you -- do you see an
  23      application there on your screen?
  24             A.   I do.   The bottom part is kind of cut off.
  25             Q.   I just made it smaller for you so you could

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   1      see it here.      I'm going to scroll through this thing so
   2      you can take a look at it and I will represent that
   3      this is Plaintiff's Exhibit Number 5 from
   4      Mr. Sullivan's deposition and I'm going to scroll
   5      through this slowly so you can see it and the question
   6      I'm going to ask you at the end so that you will know
   7      what you're looking for is, does this look like a copy
   8      of what you likely looked at back when you were
   9      preparing to assist Mr. Sullivan, okay?
  10             A.     Okay.
  11             Q.     I'm going to scroll through it.       This is page
  12      one.    You tell me if you need me to slow or stop at any
  13      point.      There's page two.
  14             A.     Move forward.
  15             Q.     Three, four, five, six, seven, eight and then
  16      there were attachments to the actual app as well which
  17      are the overflow form, second page of the overflow form
  18      and final page of the overflow form.
  19             A.     Okay.
  20             Q.     So with you having had an opportunity to look
  21      at Mr. Sullivan's Exhibit Number 5, does that appear to
  22      be the document that you looked at back when you were
  23      helping Mr. Sullivan prepare for his depo?
  24             A.     It appears to be, correct.
  25             Q.     This may seem like a ridiculous and stupid

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   1      question, I'm going to ask a bunch of them in this depo
   2      so you will forgive me for an underwriter, but is it
   3      fair to say that you are very familiar with Foresters'
   4      life insurance application?
   5             A.   Yes.
   6             Q.   These are the applications that your team
   7      looks at in making a decision whether they are going to
   8      insure an insured or not; correct?
   9             A.   That's correct.
  10             Q.   Again, falling under the, excuse the dumb
  11      question category, is this the Foresters' logo on the
  12      upper right-hand corner of page one?
  13             A.   That is correct.        We've since changed our
  14      name, but back in this time that's correct.                  We just
  15      added financial to our name.
  16             Q.   Okay.   How does Foresters -- let me do a
  17      couple of housekeeping steps first.                  While we will be
  18      going through these later I just want to get through,
  19      as I call them, housekeeping.            I'd like to mark, Tina,
  20      did you show the witness the Notice of Taking Depo?
  21                  MS. PETT:    I showed to him the notice and the
  22      order issued by Magistrate Goodman.
  23                  MR. GREENE:     Okay. Did you show him the
  24      Exhibit A to the notice?         I don't want to pester him
  25      with it if he hasn't seen it.

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   1                  MS. PETT:    Exhibit A is the category?
   2                  MR. GREENE:     Yes, the categories that the
   3      judge ordered.
   4                  MS. PETT: Yes, but I showed him the actual
   5      order because you had changed one of the categories so
   6      I wanted to make it clear what we were here for.
   7                  MR. GREENE:     Tell me what I changed because
   8      if I did it was obviously inadvertent.
   9                  MS. PETT:    Right.       In category one the Judge
  10      said the inquiries Foresters makes in the underwriting
  11      process about the knowledge and belief of the insured.
  12                  MR. GREENE:     Oh, I put Rigoberto Vinas?
  13                  MS. PETT:    Yes.
  14                  MR. GREENE:     Okay.      The insured meaning more
  15      generic, okay, I got it.         Obviously that wasn't meant
  16      to fool anybody or do anything, okay.
  17                  BY MR. GREENE:
  18             Q.   Let me go ahead and mark this then.          Stop
  19      share. And, Mr. Parrott, you will forgive, Zoom is a
  20      wonderful thing and it does work but it does take just
  21      a little bit longer to get through step by step so I
  22      apologize for that.
  23             A.   No problem.
  24             Q.   If you were up in Toronto I would slide this
  25      across the table to you, I would show it to you, you

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   1      would agree and then I would go into that really good
   2      steak house across the street for dinner. That should
   3      work now. Okay. Do you see a document that says
   4      Re-notice of Video Deposition Duces Tecum?
   5             A.   I do.
   6             Q.   Okay.    This is what I was just talking to Ms.
   7      Pett about.    I'm going to zoom through it, I'm going to
   8      scroll through it very quickly here and I'll ask you if
   9      you've seen this document before?
  10             A.   I don't recall.       It doesn't look familiar but
  11      I've read a lot of documents between in the last number
  12      of weeks.
  13             Q.   Understood completely. Exhibit A -- strike
  14      that. First let me mark this as Plaintiff's Exhibit
  15      Number 1 to this deposition.          Madam Court Reporter, if
  16      I can ask you to keep track of these I would really
  17      appreciate it.      If you need to stop typing for a second
  18      to write something feel free to do that.
  19                  (Thereupon, the Notice of Taking Deposition
  20      was marked as Plaintiff's Exhibit Number 1 for
  21      Identification.)
  22                  THE COURT REPORTER: Okay.
  23                  BY MR. GREEN:
  24             Q.   Exhibit A is a list of the areas that you've
  25      been assigned to testify about with the correction that

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   1      Ms. Pett told me about a few minutes ago, so I'm going
   2      to work through these and I'm going to ask you, are you
   3      here today to testify on behalf of Foresters regarding
   4      the inquiries Foresters makes in the underwriting
   5      process about the knowledge and belief of the insured
   6      concerning information provided in life insurance
   7      applications as opposed to the straight forward
   8      accuracy of the information provided?
   9             A.      I am.   And let me just clarify something, as
  10      you were kind of zooming through that document, the
  11      document in its entirety did not ring a bell with me so
  12      much.       This part of it, Exhibit A, I'm familiar with
  13      these four points.
  14             Q.      Okay. So you just saved me about a minute and
  15      a half to two minutes. Fair to say that you are here
  16      today on behalf of Foresters to testify as their
  17      corporate representative on these four points with the
  18      exception of number one being generically the insured
  19      rather than Rigoberto Vinas?
  20             A.      That is correct.
  21             Q.      What have you done?        I need you to list these
  22      things out for me if you would please because I'm going
  23      to be taking them down, what have you done to prepare
  24      for this deposition?
  25             A.      Talked to Counsel, that's really it.        I mean,

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   1      other than being aware of the four points and Exhibit A
   2      that we just discussed, talked to Counsel.
   3             Q.   Okay.   And I understand you told me you only
   4      talked to Counsel, but I have got to go through a few
   5      things that it appears the answer is going to be no,
   6      but bear with me while I do this because I need to ask
   7      very specific questions.
   8             A.   Okay.
   9             Q.   Have you spoken to any of the representatives
  10      in Foresters sales or marketing department in
  11      preparation for your testimony here today?
  12             A.   I have been made aware of information or
  13      questions that were asked of Counsel and to our chief
  14      distribution officer and our assistant vice president
  15      over the marketing area.        I'm aware of the questions
  16      that he asked them and what their responses were.
  17             Q.   So if I understand correctly, rather than you
  18      going and talking to these people, Counsel went and
  19      talked to these people, got answers and then passed
  20      that on to you?
  21             A.   Correct.    It was email conversations.         Email
  22      question, email response.         I saw the question, I saw
  23      the response.
  24             Q.   But you did not, you didn't pick up the
  25      phone, or get on a zoom call, or communicate in any

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   1      way, shape, manner or form with anyone from -- directly
   2      with anyone from sales, marketing or otherwise
   3      regarding your testimony here today; correct?
   4             A.   I did not, no.
   5             Q.   Well, then, since -- I don't usually get an
   6      answer to this question, but I guess this is going to
   7      be an exception, what did Counsel tell you?
   8                  MS. PETT:    We are got going to disclose what
   9      Counsel told him.      We are going to disclose what he
  10      knows about the topics through the information that has
  11      been gathered for him, but we are not going to tell you
  12      what Counsel told him.
  13                  BY MR. GREENE:
  14             Q.   If I understand correctly and Mr. Parrott,
  15      please, sometimes -- we haven't been going that long
  16      here but sometimes I get lost, I'll admit it. I don't
  17      think so here.     All of the information that you
  18      received regarding sales and marketing and
  19      communication that sales and marketing has came from
  20      your lawyer; correct?
  21             A.   The question to those two individuals came
  22      from the attorney.      The question that he asked them,
  23      yes, and the response is yes.
  24             Q.   Let me be very specific in my question.           With
  25      respect to the preparation that you have made to give

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   1      meaningful testimony here today, all of that
   2      information, other than the underwriting aspects which
   3      is in your head, came from your lawyer; correct?
   4             A.   No.    The only thing that came from the
   5      lawyer, again, was the two questions that were asked
   6      and the 15 seconds it took me to read the responses.              I
   7      mean, other than that, there was no preparation from my
   8      talking to anybody or my looking through any
   9      information or anything of that nature.
  10             Q.   Okay.    Well, I need to get back to the source
  11      of whatever other information you have.             You said that
  12      there was information provided to you from sales or
  13      marketing; correct?
  14             A.   The response to the question that our Counsel
  15      asked them, that's it.       Nothing more.
  16             Q.   Let me get an answer to the question and then
  17      I'll go ahead and I'll give you a chance because I'm
  18      not going to ask you what was that information.             But
  19      let me get a yes or no to the question and then we will
  20      go from there.      There was information provided to you
  21      from sales and marketing; correct?
  22             A.   Yes.    I suppose as it was received, yes, as a
  23      cc on the email, I guess the answer to the question is,
  24      yes.
  25             Q.   And that information was, you said you were

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   1      cc'd, who sent the information?
   2             A.     Our legal counsel at Foresters, Ian Collins.
   3             Q.     Okay. And who was the recipient of that
   4      email?
   5             A.     The emails were sent to Matt Berman who's our
   6      chief distribution officer which Matt has
   7      responsibility over all the sales of the organization,
   8      the sales division and sales team, and then the other
   9      email went to Veronique Maroque, assistant vice
  10      president of marketing for organization.
  11             Q.     Can I have those two names again please one
  12      more time please?
  13             A.     Chief distribution officer is Matt Berman.
  14             Q.     Hold on.   Chief distribution officer, Matt
  15      Berman.
  16             A.     Correct.
  17             Q.     And who else?
  18             A.     Veronique Maroque, Veronique is french so
  19      it's V-e-, I'm going to mess this up myself,
  20      V-e-r-o-n-i-q-u-e, Maroque is M-a-r-o-q-u-e, I believe.
  21             Q.     I got it 100 percent without the help by the
  22      way.    I have it down here, I'll show you my piece of
  23      paper.      Go ahead. I'm sorry.
  24             A.     She's the assistant vice president over the
  25      marketing area for the company.

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   1             Q.   AVP in marketing.
   2             A.   Correct.
   3             Q.   Okay. Now, if I understand what happened,
   4      Ian, your in-house counsel, sent an email to Mr. Berman
   5      and Ms. Maroque?
   6             A.   Correct, separately, right.
   7             Q.   Okay. Two separate emails; correct?
   8             A.   Correct.    Yes.
   9             Q.   Were you cc'd on those out going emails?
  10             A.   Yes.
  11             Q.   What did those emails say?
  12             A.   Response was no.
  13             Q.   No. No.
  14             A.   I'm sorry.
  15             Q.   What did the outgoing email say?
  16             A.   Generally asked about if the sales team had
  17      any knowledge, or any discussion, or knowledge,
  18      knowledge and belief with respect to the claims
  19      practice, the underwriting practice, I believe that was
  20      the substance of the email.
  21             Q.   Okay.    All right. Strike that.        Was that the
  22      substance of both emails?
  23             A.   Yes.    They both were identical questions
  24      other than the direction, for Matt it was for sales and
  25      for Veronique it was for marketing, marketing

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   1      materials, that sort of thing.
   2             Q.   Okay.   And if I understand correctly the
   3      inquiry that was made is whether the, and then fill in
   4      the blank there, sales team for one, marketing team for
   5      the other, had any knowledge with respect to the claims
   6      or underwriting processes, do I have that right?
   7             A.   No.   The aspect of knowledge and belief with
   8      respect to the claims and underwriting processes.
   9             Q.   Has any knowledge with respect --
  10             A.   Awareness.    Yes, awareness is maybe a better
  11      word so we are not using the same word twice. Awareness
  12      of knowledge and belief with respect to the claims and
  13      underwriting practice.
  14             Q.   So did both people write back their answers?
  15             A.   They did.
  16             Q.   And they cc'd you with it?
  17             A.   They did.
  18             Q.   And what was the answer from Mr. Berman?
  19             A.   No.
  20             Q.   Simple one word answer?
  21             A.   Yes, sir.
  22             Q.   And from Ms. Maroque?
  23             A.   The answer was no.        I think she said, no, we
  24      don't have any knowledge, or, no, we don't have any
  25      awareness.    I forget exactly what she said but she used

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   1      four or five words.
   2             Q.   Okay.   Do you know what -- strike that.          Can
   3      you give me an estimate as to did this question from
   4      Ian go out and the emails came back immediately, was it
   5      a day, was it a week, you know, how long before -- I'm
   6      sorry, go ahead.
   7             A.   I don't recall.       It was very quick, I don't
   8      know if it was right away or within -- certainly within
   9      24 hours.
  10             Q.   I want to see if I have an understanding of
  11      the question here.      The question was whether -- we will
  12      just use sales team as an example so I don't have to
  13      keep saying it both ways and I understand the same
  14      question was asked with regard to marketing.
  15             A.   Okay.
  16             Q.   Whether the sales team had awareness of the
  17      best knowledge and belief clause with respect to how
  18      that is handled by claims and underwriting, is that a
  19      fair summary?
  20             A.   That's a fair representation.
  21             Q.   Okay.   And the answer from both sales and
  22      marketing was that they have no idea how the claims or
  23      underwriting folks deal with the best knowledge and
  24      belief clause in their underwriting aspects and their
  25      claims aspects; is that true?

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   1             A.   That's correct.
   2             Q.   You have, I assume, through your years become
   3      familiar with how Foresters sells its policies;
   4      correct?    Meaning, when I say how, I mean the mechanism
   5      of sale, do they knock door to door, do they advertise
   6      on the internet, that's what I meant by how.
   7             A.   Yes, I do.
   8             Q.   And how is that done?
   9             A.   We have many different distribution channels
  10      and they are done in different ways. For example, we
  11      have a BGA channel, we have an NMO channel, we have a
  12      multi-level marketing channel.           Just, for example,
  13      those three are very different.            Multi-level marketing
  14      channel will likely work off of insurance leads and
  15      those insurance leads are the source of a customer
  16      base, if you will, and they will contact customers.
  17      There's no door to door sales really anymore.            The
  18      contact is initially through telephone, through email,
  19      through digital means.       The BGA channel, for example,
  20      is a little bit different because they often work
  21      through existing customers, customer referrals, don't
  22      generally use leads as much. There is a multi-level
  23      marketing organization where they have an NMO channel,
  24      but they all have a basis for gathering a customer
  25      base. And so once they gather that customer then the

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   1      practice is to connect with that customer and whatever
   2      way is appropriate for the producer and the customer
   3      whether it's telephone, or whether it's digital means,
   4      or face-to-face conversation, whatever it takes.             They
   5      then proceed with their sales process from there.
   6             Q.   Okay.   It's about noon, I'm just going to go
   7      to the restroom, let's just take 10, say 12:10, does
   8      that work for everybody?        I don't know what your local
   9      geography is, is that good for everyone?
  10             A.   That's fine.     I'm central time so I'm just an
  11      hour behind you.
  12             Q.   Okay.   Great.    We will take 10.
  13             A.   I have a question for mechanics, do we just
  14      put everybody on mute or how are we doing that?
  15             Q.   Don't cut anything off, just stop your video,
  16      put yourself on mute.       I would not disconnect.        We are
  17      lucky to have this good connection at this time.
  18             A.   Okay.
  19                  THE VIDEOGRAPHER: We are going off the
  20      record. The time on the video monitor is 12:04 p.m.
  21                  (Thereupon, a brief recess was had at 12:04
  22      p.m.)
  23                  (Thereupon, the following proceedings were
  24      had at 12:16 p.m.)
  25                  THE VIDEOGRAPHER: We are back on the record,

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   1      the time on the video monitor is 12:16 p.m.
   2                  BY MR. GREENE:
   3             Q.   Mr. Parrott, before we broke for a short
   4      break I was asking you about ways that Foresters
   5      markets its product or sells its product to the public
   6      and you were telling me that there's a number of
   7      different ways.     Let me show you something here.          I
   8      have got a page off of Foresters' website here, I hope
   9      that you can see it, can you, or is it too small or too
  10      big?    You tell me.
  11             A.   No, I can see it.        You got quite a margin at
  12      the top so I'm seeing where it says additional notes,
  13      that's the last thing I see on this page.
  14             Q.   Yes, that's all I can see too.
  15             A.   Okay.
  16             Q.   Okay. Let me do some identifying here for the
  17      record. First of all, does this appear to you, unless I
  18      am a really, really good scammer here, that this is a
  19      fair and accurate copy of a legitimate Foresters'
  20      website?
  21             A.   Correct.    It looks to be a document that may
  22      be available through our website, but, yes.
  23             Q.   And does it look like, just for our record,
  24      the site is www -- can you read this along with me to
  25      confirm?    Are you able to?

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   1             A.   I can, yes, I can.        Do you want me to read
   2      that?
   3             Q.   I'll read it to you and just you tell me if
   4      I'm accurate here.      It appears the website is
   5      www.Foresters.com/EdwardNancy/the word find, a dash,
   6      the word an, a-n, alpha, November, dash, the word
   7      advisor, the number sign and then GREF, golf, romeo,
   8      echo, fox trot, have I read that accurately?
   9             A.   That's correct.
  10             Q.   Does this page indicate that one of the ways
  11      that Foresters markets its product or sells its product
  12      is through a network of independent life insurance
  13      representatives?     I'm reading that down here.
  14             A.   That's correct.       Our entire company is
  15      independent producers, independent advisors.            We don't
  16      have a captive sales force, that is to say a sales
  17      force or salaried agents paid for by the company.             The
  18      captive sales force can only write business for one
  19      company.    Our distribution can write business for many
  20      companies, we just happen to be one of them so -- go
  21      ahead.
  22             Q.   And if I understand correctly, you all give
  23      your applications and your promotional materials to
  24      these, a group of what you call independent agents, and
  25      they go out and they sell your policies. They could

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   1      sell other people's but they sell yours as well.
   2             A.      Correct.   Once they are contracted and
   3      appointed with us then they have access to this
   4      information.
   5             Q.      Okay.   And the applications that they give
   6      are provided by Foresters; correct?
   7             A.      Correct.
   8             Q.      I'm sorry, I didn't mean to do that.        Let's
   9      go back.       There you are. Okay. Have we now got the
  10      application back on the screen, it was Exhibit 5 to
  11      Mr. Sullivan's deposition?
  12             A.      Yes, looks like we do.
  13             Q.      Okay.   Through your experience with Foresters
  14      you were telling me that -- strike that. Let's get back
  15      to where we were a second ago.             Let me just get rid of
  16      this.       I'm sorry, let me try it a different way.        When
  17      Foresters gives the independent agents the
  18      applications, and this is going to fall under the
  19      stupid question category, I like to preface it so you
  20      don't think I'm a moron, you agree with me that it's
  21      necessary for the independent agent to communicate with
  22      the prospective insured about the product that they are
  23      looking to sell, does that seem reasonable?
  24             A.      That's reasonable, yes.
  25             Q.      And you agree with me that Foresters

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   1      authorizes these people to make accurate
   2      representations about Foresters' products, correct?
   3             A.   Correct.
   4             Q.   And that includes the process of going
   5      through selling the product and the application
   6      process, et cetera; correct?
   7             A.   Correct.
   8             Q.   And all of those representations are
   9      authorized by Foresters as long as they are accurate
  10      representations; correct?
  11             A.   That is correct.
  12             Q.   In fact, this is the part I was looking to
  13      get to before, in looking at -- have you got Exhibit
  14      Number 5 back up there?
  15             A.   I do.
  16             Q.   In looking at Exhibit 5 on page 8 the
  17      independent agent that takes your application for
  18      Foresters has to make a representation that she did
  19      certain things and didn't do certain things in the
  20      application itself; correct?
  21             A.   That's correct.
  22             Q.   Are you familiar with this, what's called
  23      agent producer certification that I've kind of
  24      highlighted here for you?
  25             A.   I'm familiar with it.

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   1             Q.   Okay.
   2                  MS. PETT:    Craig, I don't mean to interrupt
   3      you, but this doesn't seem to fall within any of the
   4      categories.
   5                  MR. GREENE:     I promise you this is going to
   6      tie right in, I promise.         And if not, you can always
   7      deal with it, but you will see where it comes in a
   8      minute.
   9                  BY MR. GREENE:
  10             Q.   The agent here, it looks like it says unless
  11      specifically stated otherwise the producer report, I
  12      certify each of the following and then there's A and
  13      then it looks like if I've counted right through H,
  14      does that sound right to you?
  15             A.   Looks right.
  16             Q.   Okay.   I'm going to save you and I the
  17      torture of going through A through G because I'm only
  18      really interested in H.        But I will tell you if you
  19      feel like in order to answer this question completely
  20      or fairly you need to talk about A through G I want you
  21      to do so, okay?
  22             A.   Okay.
  23             Q.   Okay.   The agent or producer at the time of
  24      submitting the application to Foresters has to certify
  25      that he or she has made no misrepresentations about

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   1      Foresters product applied for in the application.             They
   2      further have to represent that they've made no promise
   3      regarding the benefits or future performance of the
   4      products applied for other than specifically written in
   5      this specific product applied for in the app; is that
   6      fair?       Is that true?
   7             A.      That's fair, yes.
   8             Q.      Would that suggest to you the exact inverse
   9      which is what you told me a minute ago that the agent
  10      is expected to make representations about Foresters
  11      products, they just have to be true representations,
  12      right?
  13             A.      They have to be true and accurate
  14      representations, correct.
  15             Q.      Are you familiar with the portion of the
  16      application that the insured has to sign where they
  17      represent that the medical information they provided,
  18      among other information, life, health, age, things like
  19      that, is true and correct to the insured's best
  20      knowledge and belief?
  21             A.      Correct.   It's in disclosures above this
  22      section.
  23             Q.      Yes, sir, you are.        It's in the area called
  24      signature section; correct?
  25             A.      Correct.

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   1             Q.   Actually, no, I may be wrong.             Nope, it's
   2      not.    I thought it was too.        Hold on.       Here we go.
   3      Thank goodness for control F.           I love control F.      Okay.
   4      Let's start a new question.          Right on page 7 of 8 the
   5      insured makes a representation that I, as evidenced by
   6      my signature in this application, declare that he's
   7      reviewed the application, was asked the questions that
   8      apply to him and provided answers shown in the
   9      application to the questions and that the statements,
  10      answers, and representations contained in the
  11      application are full, complete and true to the best of
  12      the insured's knowledge and belief; is that accurate?
  13             A.   That's correct.
  14             Q.   When an insured -- strike that.             Within these
  15      policies Foresters has something called a contestable
  16      period, are you familiar with that?
  17             A.   I am.
  18             Q.   Again, I will try and summarize it
  19      generically. If you think my summary is inaccurate or
  20      unfair please let me know, but I try and be objective
  21      in this.    If I understand correctly the contestable
  22      provision in the policy says that if the insured or the
  23      owner of the policy is to pass on, die, within two
  24      years of issuance of the policy then Foresters can go
  25      back, look at the representations in the application

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   1      and if it finds there to be what they consider to be a
   2      misrepresentation that was material to their taking on
   3      the risk then they reserve their right to rescind the
   4      policy, is that a generic description?
   5             A.   The contestability phrase or cause actually
   6      gives us the right to look back to that part of your
   7      description.    It gives us the opportunity to go back
   8      into history and to make sure that there were no
   9      misrepresentations. Further down in explanations beyond
  10      the contestable period it spells out what the
  11      ramifications could be of that, but, yes, generically
  12      amongst that phrase or that clause and other parts of
  13      the declaration that's correct.
  14             Q.   During his deposition I asked Mr. Sullivan
  15      whether he agreed that the key question that the claims
  16      department has to determine when determining if a claim
  17      should be denied during the contestable period or
  18      attempted to be rescinded during the contestable period
  19      is whether the insured did or did not answer an
  20      application question to his or her best knowledge and
  21      belief and he said, yes, that is the inquiry.            Do you
  22      agree with that?
  23             A.   Yes.
  24             Q.   Do you understand that there is a difference
  25      between the insured's best knowledge and belief and

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   1      what may or may not be a factually accurate answer in
   2      terms of a diagnosis or medical condition?
   3                  MS. PETT:    Objection to the form.
   4                  MR. GREENE:     If it's compound I'll break it
   5      down.
   6                  THE WITNESS: Yes, will you rephrase that.
   7                  BY MR. GREENE:
   8             Q.   I had an or in there so Tina's position is
   9      well taken.    Do you understand that there's a
  10      difference between the insured's best knowledge and
  11      belief and what may be an actual fact in terms of a
  12      medical diagnosis?
  13             A.   Do I believe it's possible or what is the --
  14      try again, please, I'm sorry.
  15             Q.   You and I have been doing great so when you
  16      tell me that you don't follow my question that means
  17      that I got to do a better job.            Do you understand that
  18      there is a difference between asking for an insured's
  19      best knowledge and belief, i.e., get them to say what
  20      they know, their truth, versus what they may believe
  21      but may be factually inaccurate?
  22             A.   Not necessarily.
  23             Q.   I understand that they may be the same, but
  24      there are situations -- strike that.                 The critical
  25      question for purposes of denying the claim, as you

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   1      understand it, is whether the insureds answered the
   2      question to their best knowledge and belief, right?
   3             A.   That's correct.
   4             Q.   That is the insured has to tell the truth as
   5      they know it; correct?
   6             A.   That is correct.
   7             Q.   Do you understand that there are situations
   8      where the insured could be telling the truth as they
   9      know it, but it may be factually inaccurate?
  10             A.   It could be, depending on circumstances of
  11      the medical history of other -- how many times they see
  12      their doctors, medications, treatments, a whole factor
  13      of things that may come into play.
  14             Q.   Understood.     So if a -- strike that.        Are you
  15      aware of any practice, protocol, best practices or
  16      anything like that that Foresters either gives to its
  17      agents or suggests to its agents in terms of informing
  18      elderly prospective insureds about the two year
  19      incontestability period or contestability period?
  20             A.   I have the last part of your question, Mr.
  21      Greene, but the first part, would you ask the first
  22      part again?
  23             Q.   Of course.     Are you aware of any practice,
  24      any suggestion, any guidance, anything like that, that
  25      Foresters conveys to agents or would like its

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   1      independent agents to engage in with respect to
   2      informing elderly prospective insureds about the
   3      contestable period, that is, that they better be
   4      telling the truth during their application or in their
   5      application because if one of them is to die or if an
   6      insured is to die within two years Foresters could come
   7      back and try and rescind the policy?
   8                   MS. PETT:   Object to the form.
   9                   BY MR. GREENE:
  10             Q.    You can answer.
  11             A.    The reference to the elderly isn't really
  12      material because our agents, the independent producers
  13      that we ultimately contract that are contracted through
  14      NMOs and BGAs and the other organizations that we do
  15      business with and go through, get information and
  16      training material from the organization.            They also,
  17      depending on, excuse me, depending on the organization
  18      that they are contracted with in their NMO or their BGA
  19      they also go through additional training with respect
  20      to the practice and the products and everything that we
  21      sell and the procedures surround things.
  22                  We don't have a guaranteed issue product.
  23      There is a no contestable period in a guaranteed issue
  24      product.     So every product that we have, that we sell
  25      carries a guarantee or carries the contestability

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   1      clause. We are required by every state to include it in
   2      every single product and so that, in itself, is part of
   3      any discussion with respect to any state.
   4             Q.   My only question, my only question was
   5      whether or not Foresters had any specific language or
   6      promoted any specific language with regard to elderly
   7      patients and the contestability clause and I understand
   8      your answer is no.
   9             A.   That's correct.
  10             Q.   Okay.   If I understand correctly then,
  11      applying what you and I have discussed with regard to
  12      the contestability clause, as long as an insured
  13      answers questions to his or her best knowledge and
  14      belief in the application process the claim won't be
  15      denied because of a claim of contestability if the
  16      insured dies in the first two years, right?
  17             A.   That's not necessarily true.            Every -- I'm
  18      sorry.
  19             Q.   You're right, there could be other reasons,
  20      so let me -- that's very fair.           Let me reask the
  21      question.    With respect to denial based upon
  22      inaccuracies in the application, with respect to denial
  23      for contestability, are you with me so far?
  24             A.   Yes.
  25             Q.   Okay. If an insured, a prospective insured, I

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   1      guess, at that time, answers questions to his or her
   2      best knowledge and belief the insurance company,
   3      Foresters, won't rescind the policy for a
   4      misrepresentation if they answer to their best
   5      knowledge and belief, right?
   6             A.    That's not necessarily true. The application
   7      lays out the responsibilities of the customer to answer
   8      those questions to the best of their knowledge and
   9      belief.     We rely on that, we rely on the transparency
  10      of the customer to tell us what it is that they know.
  11      We also rely on a number of different data elements
  12      that we secure on every customer for background,
  13      underwriting background, underwriting investigation
  14      information to corroborate information. From the time
  15      of the underwriting aspect and at that point in time
  16      when a claim is made, excuse me, at that point when a
  17      claim is made it then becomes the responsibility of the
  18      contestable claim review practice to make
  19      determinations around belief and knowledge.                 But belief
  20      and knowledge is inherent in the claims process.                   It's
  21      inherent in the underwriting process.                 We have it
  22      documented in our application through the declarations
  23      and what the applicant has to sign.                 So with respect to
  24      the underwriting aspect of things that goes to our
  25      ability to make an assessment and make an offer based

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   1      on that information that we have up front.
   2             Q.   Are you finished?
   3             A.   Yes.
   4             Q.   Okay.   Can I ask the court reporter to read
   5      back the question and then the first sentence of the
   6      insured's answer where he says not necessarily.
   7                  (Thereupon, the above-referred to section was
   8      read back by the court reporter.)
   9                  BY MR. GREENE:
  10             Q.   So if I understand what you are saying, an
  11      insured could 100 percent answer questions to their
  12      best knowledge and belief, tell 100 percent the truth
  13      as they see it and Foresters could still rescind the
  14      policy under its contestability provision; correct?
  15             A.   That's the responsibility of the contestable
  16      claim process to determine that --
  17             Q.   I understand.
  18             A.   -- to the best knowledge and belief.
  19             Q.   Okay. I'm asking you, assume that the
  20      insured, this is part of what we have to do here, I
  21      want you to assume that the insured answered questions
  22      to his or her best knowledge and belief, that's a
  23      given, okay, you with me so far?
  24             A.   Got it.
  25             Q.   If we assume that then under Foresters'

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   1      policy that insured should be able to rest comfortably
   2      that as long as they told the truth as they know it,
   3      their best knowledge and belief, Foresters won't
   4      rescind the policy based upon misrepresentation in the
   5      application if, in fact, they did answer to their best
   6      knowledge and belief, i.e., tell the truth; is that
   7      fair?
   8             A.   Let me ask a clarifying question.               At what
   9      point in the process is this about?                 Is this when they
  10      are completing the application and waiting for an
  11      answer from us on whether we are going to offer the
  12      policy or not?
  13             Q.   Oh, yes.    I'm saying assume for a moment that
  14      the insured is trying to decide whether to buy your
  15      policy or not, okay?
  16             A.   Yep.
  17             Q.   And the insured does, in fact, answer
  18      questions to his or her best knowledge and belief in
  19      doing so, okay, assume that's a fact.
  20             A.   Okay.
  21             Q.   Okay.
  22             A.   Got it.
  23             Q.   If, in fact, that's the case, that insured
  24      should be able to rest comfortably that as long as he
  25      or she answered those questions truthfully as far as

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   1      they knew that Foresters will not rescind the policy
   2      based upon a misrepresentation in God forbid the
   3      scenario that the insured were to die within the first
   4      two years; is that true?
   5             A.     The representation that they are making at
   6      the time of underwriting and we are making our decision
   7      based on that, that is the first instance of whether
   8      we're verifying knowledge and belief.               We get
   9      transparency from the customer, we make our decision.
  10      They should be able to feel good about -- if they were
  11      truthful about their information they should be able to
  12      feel good about it.      If there is a contestable claim we
  13      are going to go back and verify information.                 So, for
  14      example, in underwriting we don't -- if we don't have
  15      any information in which to review because there's
  16      nothing there we assume the customer is telling us the
  17      truth.      But if in light of the contestable claim
  18      process, let's just say for a moment that the customer
  19      goes to the doctor every month or every three months
  20      and there's things that are going on that would lead us
  21      to believe that that isn't necessarily true, that the
  22      fact that they are going through something.               Like a
  23      cancer patient, for example, is going to chemotherapy
  24      every other day then that's obviously not correct, they
  25      were not truthful about their knowledge and belief.

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   1                  So at the time of underwriting that's when
   2      knowledge and belief is established for the offer.               At
   3      the time of contestable claim because we have the right
   4      to review that information and go back and review the
   5      information, that then is re-established that knowledge
   6      and belief was an accurate picture at the time of
   7      underwriting.       So there's two different points in time.
   8      It's not just because you verified knowledge and belief
   9      on the underwriting aspect because of a contestable
  10      claim we have the right to go back and look at
  11      information, and if it was determined that knowledge
  12      and belief wasn't accurate then that's a decision
  13      that's going to come into play.
  14             Q.    I'm not contesting or challenging or even
  15      asking a question about whether you have a right to go
  16      back and look, and I'll make it clear on the record, I
  17      am not asking you about that, okay?
  18             A.    Yes.
  19             Q.    Okay.
  20             A.    Agree.
  21             Q.    What I am asking you about is in your
  22      hypothetical answer back to me you said assume that and
  23      then you posed a hypothetical where you suggested it
  24      was not the insureds best knowledge and belief and you
  25      said we would then be able to rescind.               I've asked you

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   1      as part of my question to assume that the insured is
   2      answering to their best knowledge and belief and I
   3      understand sometimes that's hard to do if you don't
   4      believe it, but it's my question and I have the burden
   5      of proving what I put in my hypothetical, okay?
   6             A.   Yes.
   7             Q.   Okay.   So, once again, if, in fact, the
   8      insured is answering the question to their best
   9      knowledge and belief, that insured should be able to
  10      rest comfortably that if, God forbid, the insured dies
  11      within the first two years that Foresters will not
  12      rescind the policy based upon the incontestability or
  13      the contestability clause if, in fact, it is their best
  14      knowledge and belief, true?
  15                  MS. PETT:    Object to the form.
  16                  MR. GREENE:     Go on.
  17                  MS. PETT:    Go ahead.
  18                  THE WITNESS: Am I good?
  19                  MR. GREENE:     Yes, you're good.
  20                  MS. PETT: Yes.
  21                  THE WITNESS: Okay.         As long as they
  22      understand that that gets to go under scrutiny within a
  23      contestability claim period.
  24                  BY MR. GREENE:
  25             Q.   And a representation to the insured that as

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   1      long as they tell the truth, 100 percent the truth as
   2      they know it, that Foresters will not rescind the
   3      policy based upon a contestable claim procedure would
   4      be a truthful representation to the insured, right?
   5             A.   Yes.    The aspect of this, you're asking for a
   6      claims decision to be made at the time of underwriting
   7      and they have -- if they believe that they have told
   8      the truth to the best of their belief and knowledge,
   9      understanding there's a contestable claim period, then
  10      they should feel good.
  11             Q.   That the claim will not be contested?
  12             A.   No, the claim will be contested.             If they die
  13      within the first two years it will be contested.
  14             Q.   Contested you mean the process?
  15             A.   The process.
  16             Q.   Okay.
  17             A.   Correct.
  18             Q.   Let me reask that question.             If they told the
  19      truth the policy will not be rescinded, the claim will
  20      be paid?
  21             A.   That will be a decision based on the
  22      contestable review.      So I can't -- no, I can't -- they
  23      have to know that a contestable review is going to
  24      happen and there is no claims decision made at the time
  25      of underwriting whether they have been completely

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   1      truthful and belief, completely truthful with their
   2      knowledge and belief, a contestable review will happen
   3      and a decision will come of that review.
   4             Q.   That's why I changed my question and I
   5      changed it from a review to the decision.              Back up
   6      again, okay.      If the insured is giving answers to his
   7      or her best knowledge and belief, and I know you're
   8      having a really hard time including that part in these
   9      questions, but every one of these questions, until I
  10      tell you otherwise, assumes that, okay?
  11             A.   Got it.
  12             Q.   Okay.    If the insured is, in fact, giving
  13      answers to their best knowledge and belief then a
  14      representation by the agent to the insured that says
  15      something like listen, answer these questions to your
  16      best knowledge and belief, and as long as you tell the
  17      truth, as long as you're telling your true best
  18      knowledge and belief, the claim will not be denied for
  19      a misrepresentation, that would be an accurate
  20      statement; correct?
  21             A.   No.    Again, you're asking me to make a claims
  22      decision at a time prior to a claim happening.
  23      Secondly, the agent, the producer has no -- they don't
  24      have any authority to make that claim.              They cannot
  25      tell the applicant that a claim will be paid regardless

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   1      of whether they -- the claim to them would be truthful,
   2      to the best of your knowledge and belief we need you to
   3      make sure that these questions are accurate and these
   4      answers are accurate because his only authority is to
   5      say that a death within the first two years will have a
   6      contestable review. To say that that death, that that
   7      claim will be paid or won't be rescinded he has no
   8      authority to make that claim, nor do I, nor does David
   9      Sullivan, nor does the president of the company because
  10      it's a result of the process.           And so, no, you can't
  11      make that claim even up front.
  12             Q.   Okay.
  13                  THE VIDEOGRAPHER: We have about five minutes
  14      left to change media.
  15                  BY MR. GREENE:
  16             Q.   Did you ever talk to David Sullivan about his
  17      testimony after he was deposed?
  18             A.   No, I didn't.
  19             Q.   Why is it that you threw out there in that
  20      answer nor does David Sullivan when telling me that no
  21      one has authority to say that a claim will or won't be
  22      paid?
  23             A.   Because you're representing this at the time
  24      of underwriting, that's the question.
  25             Q.   My question was why did you include David

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   1      Sullivan in that answer?
   2             A.      I just included him as a party of people.             At
   3      the time of underwriting no person in Foresters'
   4      organization has the right to say a claim will be paid
   5      until that claim is made and that claim if within the
   6      first two years is investigated.
   7             Q.      Is any of your experience that we went
   8      through -- how many years was it?               We never did the
   9      math.       How many years have you been doing this?
  10             A.      I have been in the industry 35 years roughly.
  11             Q.      I know it's painful to say.
  12             A.      35, 36.
  13             Q.      I suffer the same pain.          In your 35 years in
  14      doing this in the industry is any of that in claims?
  15             A.      Actually, my first company in the first year
  16      I was part of claims and then they moved me to
  17      underwriting, maybe a year.
  18             Q.      That was about 32 years ago?
  19             A.      34 actually, 1985, '86, roughly.
  20             Q.      Anything since then?
  21             A.      No.   Just other than any interactions that I
  22      might have with claims and our person that deals with
  23      contestable claims, that's everything.
  24                     MR. GREENE: Okay.       Mr. Videographer, go ahead
  25      and change out your tape.

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   1                  THE VIDEOGRAPHER: Okay. Thank you. We are off
   2      the record. The time on the video monitor is 12:54 p.m.
   3                  (Thereupon, a brief recess was had.)
   4                  (Thereupon, the following proceedings were
   5      had at 1:00 p.m.)
   6                  THE VIDEOGRAPHER: We are back on the record.
   7      The time on the video monitor is 1:00 p.m. and this
   8      marks the beginning of media unit number two.
   9                  BY MR. GREENE:
  10             Q.   Mr. Parrott, I know you don't deal with
  11      claims or haven't dealt with claims in 30 plus years,
  12      but sitting here today can you think of any scenario,
  13      any situation where assuming that an insured did answer
  14      questions to their best knowledge and belief that his
  15      or her claim should be rescinded for material
  16      misrepresentation of the application, assuming they
  17      did, assuming they did?
  18             A.   So let me answer this way, if the applicant
  19      completed the application to the best of their
  20      knowledge and belief and our contestable claims review
  21      confirmed that, then, no, the claim would not be
  22      rescinded.
  23             Q.   I didn't ask you that.
  24             A.   Okay.
  25             Q.   I asked you can you think of any factual

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   1      scenario where if, in fact, the insured did answer
   2      questions to their best knowledge and belief, that's
   3      the conclusion, that is the answer, they did it, they
   4      were answering questions to their best knowledge and
   5      belief, can you think of any scenario where the claim
   6      should be or the policy should be rescinded or the
   7      claim denied for material misrepresentation?
   8             A.   No.   Again, if that's what it was confirmed
   9      then it wouldn't be rescinded.           To your factual
  10      question, again, I think tell me what it is that you're
  11      asking exactly.
  12             Q.   You answered it, you just did.
  13             A.   Okay.
  14             Q.   You just answered it.
  15             A.   Okay.
  16             Q.   You agree with me that in determining what
  17      the insured's best knowledge and belief is the claim
  18      department should be trying to figure out what the
  19      insured's best knowledge and belief was, right?
  20             A.   It's inherent in their practice and what they
  21      do in the review, yes.
  22             Q.   I'll withdraw the question because you need
  23      to listen to my question.         I asked you what they should
  24      be doing.    So my question was, you agree with me that
  25      if, in fact, their goal is to determine what the

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   1      insured's best knowledge and belief is that the claims
   2      department should be making that inquiry; correct?
   3             A.   Everything around it is built into their
   4      practice of how they do things.            So inherently there's
   5      no checklist, I guess, if that's what you're asking,
   6      there's no checklist that happens, but in their
   7      practice in what they do in reviewing contestable
   8      claims that's one of the questions that they have to
   9      answer to themselves, do we think this guy knew or gal
  10      knew what was going on.
  11             Q.   Okay.    That is -- now, you're answering that
  12      from the underwriting perspective, right?
  13             A.   Well, I'm sorry, I'm answering that from the
  14      underwriting perspective.         I'm also answering that from
  15      the times in which there may be underwriting questions
  16      of a contestable claim that go beyond, that in our
  17      review there may be times where David and I talk about
  18      a claim and we talk about something medically that's
  19      very specific --
  20             Q.   Right.
  21             A.   -- to somebody and would they have any idea
  22      of what's going on, that kind of scenario.
  23             Q.   David, you're referring to David Sullivan?
  24             A.   That's correct.
  25             Q.   David Sullivan is the head of claims, right?

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   1             A.   That's correct.
   2             Q.   Okay.   He's the one that, I guess, to use
   3      your terminology, I want to be fair to you here, he
   4      would be setting the claims philosophy as you set the
   5      underwriting philosophy, right?
   6             A.   I suppose so, yes.
   7             Q.   So what the claims department should be doing
   8      and shouldn't be doing is better stated by him than by
   9      you; is that fair?
  10             A.   Well, he's directly responsible for the
  11      claims, that's absolutely correct.              In terms of what
  12      goes on, again, my understanding was this deposition
  13      was around generic discussion of practice and what we
  14      are doing.    So in my involvement with the claims team
  15      or the claims area rather as it relates to a number of
  16      factors, I do have a very good understanding of how
  17      they do things.
  18             Q.   Okay.   I didn't ask you that.           Very simple
  19      question, David is -- David Sullivan is better able to
  20      testify as to what the claims department should be
  21      doing than you are?
  22             A.   He owns it, he runs it so I guess the answer
  23      to that is, yes.
  24             Q.   Okay.   To the best of your knowledge, did any
  25      of the folks in the marketing or sales department ever

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   1      make any inquiry, check, confirm, or otherwise
   2      determine whether the claims department was, in fact,
   3      looking to determine, looking to find out what the
   4      insureds best knowledge and belief was during
   5      contestable claims?
   6             A.   Not to my direct knowledge and based on the
   7      information we received from Matt and Veronique, no.
   8             Q.   So the sales department, the marketing
   9      department never confirmed that the claims department
  10      was, in fact, or wasn't, in fact, making inquiry to
  11      determine the insureds best knowledge and belief?
  12             A.   No.
  13             Q.   What I said is right?          You had a double
  14      negative, you said no.
  15             A.   I'm sorry, then reask it again.
  16             Q.   Can you read the question back please.
  17                  (Thereupon, the above-referred to question
  18      was read back by the court reporter.)
  19             A.   They don't make those inquiries.
  20             Q.   And, to your knowledge, they never did make
  21      any such inquiries at least, we will use the time
  22      period that the Court has limited us to, between 2014
  23      and 2018, right?
  24             A.   That is correct, they never did.
  25             Q.   Based upon your investigation did -- strike

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   1      that.       Can you identify for us please what, if any,
   2      training the claims folks go through in order to teach
   3      them that they have to be determining what the insureds
   4      best knowledge and belief is as compared to what the
   5      actual diagnosis or fact may be relating to a medical
   6      condition?
   7             A.      I'm not aware of the training that they go
   8      through.       I know that we will, at times, help them with
   9      some underwriting training, I guess, if you will for
  10      lack of a better word with respect to some things.
  11      Sometimes it's specifically on a medical condition,
  12      sometimes it's something else, some legislation that's
  13      come across, but it's very generic.
  14             Q.      You know, I asked one thing of Mr. Sullivan
  15      and he answered, but it is an underwriting question and
  16      I'm curious about it.       I asked him if Foresters had any
  17      policies, if they issued any policies that did not have
  18      a best knowledge and belief clause in the application
  19      and he told me he was unaware of any such policy.             Is
  20      that accurate from an underwriting perspective as well?
  21             A.      I would say so.     Again, because of all the
  22      information that we used to underwrite a case.
  23             Q.      All I asked is if you're aware of any.
  24             A.      Yes.
  25             Q.      Is there any application that you guys give

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   1      out to all these agents or anyone else that's selling
   2      your policies that does not have a best knowledge and
   3      belief clause that you're aware of?
   4             A.   No.
   5             Q.   I'm starting to get hungry, so let's do this
   6      because it's 1:15 here. I'll move into a different area
   7      when we get back.      So Madam Court Reporter, what do you
   8      need, about 45 minutes, is that good to give your
   9      fingers a rest?
  10                  THE COURT REPORTER: I'm fine with whatever. I
  11      will go along with the majority.
  12                  MR. GREENE:     Tina, you tell me.
  13                  MS. PETT:    I would like to do it quick
  14      because I would like to get this done today.
  15                  MR. GREENE:     That makes two of us if I can.
  16      Let's just take half an hour. Mr. Parrott, is a half
  17      hour good for you?
  18                  THE WITNESS: Yes, that's fine.
  19                  MR. GREENE:     Okay. Let's make it 1:45 eastern
  20      time, 12:45 central time.
  21                  THE WITNESS: Very good.
  22                  MR. GREENE:     Great.
  23                  THE VIDEOGRAPHER: Off the video record. The
  24      time on the video monitor is 1:12 p.m.
  25                  (Thereupon, a lunch recess was had at 1:12

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   1      p.m.)
   2                  (Thereupon, the following proceedings were
   3      had at 1:48 p.m.)
   4                  THE VIDEOGRAPHER:        We are back on the record,
   5      the time on the video monitor is 1:48 p.m.
   6                  BY MR. GREENE:
   7             Q.   Mr. Parrott, during the application process
   8      -- you good, can you hear me okay?
   9             A.   Yes, you're good.        This thing just isn't
  10      quite settled in there.       There we go.
  11             Q.   If during the application process the agent
  12      told the insured that Foresters would be determining
  13      the insureds best knowledge and belief during a
  14      contestable claim that would be an accurate
  15      representation, right?
  16             A.   If they said that, if the agent said that?
  17             Q.   Yes.
  18             A.   That would be accurate, yes.
  19             Q.   And because you've had nothing to do with
  20      investigating or looking into the claim in Ms. Vinas's
  21      case you're unaware of any evidence if, in fact, that
  22      was or was not done in this case; correct?
  23             A.   I'm not aware of any -- ask the question
  24      again, please, would you, sir.
  25             Q.   Sure.   If I understand what you told me

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   1      before, the only thing that you've done is looked at
   2      the application in this case and you didn't remember
   3      anything about the underlying merits so I'm just asking
   4      you, you have knowledge, no evidence, one way or the
   5      other, if, in fact, Foresters did or did not determine
   6      or attempt to determine the insureds best knowledge and
   7      belief in this case?
   8                  MS. PETT:    Object to form.
   9                  BY MR. GREENE:
  10             Q.   Give me a yes or no and then feel free to
  11      explain to your heart's content.             Do you have knowledge
  12      about that?
  13             A.   No, I don't.     Let me respond one thing as I
  14      was having lunch and going back and thinking about what
  15      we've talked about.
  16             Q.   Wait.   Are you going to change an answer you
  17      have given previously?
  18             A.   No.
  19             Q.   Does it have anything to do with this
  20      question?
  21             A.   Somewhat I would guess.
  22             Q.   All right.    Well, how is this, if you are
  23      going to go ahead and change something or make an
  24      additional statement you can go ahead and you can have
  25      Ms. Pett ask you about that on cross examination, okay?

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   1             A.   Sure.
   2             Q.   She can go ahead and solicit that from you.
   3             A.   Okay.
   4             Q.   During your lunch break did you speak with
   5      anybody?
   6             A.   We spoke on the phone with my counsel.
   7             Q.   That's all I want to know, yes or no answer.
   8             A.   Yes. Tina and me.
   9             Q.   Okay. Did you read Mr. Sullivan's deposition
  10      in this case?
  11             A.   I did not, no.
  12             Q.   Did anybody read any portion of it to you?
  13             A.   Not to my knowledge.
  14             Q.   Did anybody summarize any of his testimony to
  15      you?
  16             A.   No.
  17             Q.   So sitting here today you have zero knowledge
  18      of the substance of anything David Sullivan said during
  19      his deposition, is that a fair statement, accurate?
  20             A.   It's a fair statement.
  21             Q.   Okay.   Did anybody -- strike that.         Did you
  22      read Lisa Bucklind's deposition?
  23             A.   No.
  24             Q.   Did anybody read it to you?
  25             A.   No.

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   1             Q.   Did anybody read any portion of it or
   2      summarize any of the contents to you?
   3             A.   No.
   4             Q.   So sitting here today it's your sworn
   5      testimony that you have zero knowledge as to the
   6      substance of Lisa Bucklind's testimony, is that an
   7      accurate statement?
   8             A.   That's correct.
   9                  THE COURT REPORTER: Is the last name Buckley,
  10      Lisa Buckley?
  11                  MR. GREENE: B-u-c-k-l-i-n-d.
  12                  THE COURT REPORTER: Thank you.
  13                  BY MR. GREENE:
  14             Q.   What inquiry, if any, did you make in order
  15      to determine what Foresters' intent was, if any, to pay
  16      claims on life insurance policies if the applicant were
  17      to die during the first two years after issuance?
  18             A.   What inquiry did I make?
  19             Q.   Yes.
  20             A.   To whom?
  21             Q.   Anybody.
  22             A.   Like --
  23             Q.   I'll set it up better for you.          One of the
  24      areas that you've been appointed here to give testimony
  25      about is Foresters' intent, quote, I'm sorry, let me

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   1      start over.      One of the areas that you've been assigned
   2      to give testimony about is Foresters' intent, assuming
   3      that one even exists, to pay claims on life insurance
   4      policies if the applicant dies during the first two
   5      years.      My question to you is what, if anything, did
   6      you do to make that determination?
   7             A.     That we indeed pay those claims, is that the
   8      question?
   9             Q.     No.
  10             A.     I'm sorry, I'm just not getting your gist.
  11             Q.     That's okay.    I'm reading to you a category
  12      that the Judge formulated himself as to an area of
  13      inquiry that you've been assigned to give testimony
  14      about and that area of inquiry is Foresters' intent,
  15      assuming that one even exists, to pay claims on life
  16      insurance policies if the applicant dies during the
  17      first two years, you with me so far?
  18             A.     Got you.
  19             Q.     Okay.   My first question to you is what, if
  20      any, inquiry did you make, what, if any, research did
  21      you do, what, if any, books did you read, what, if any,
  22      emails did you look up, anything like that, in order to
  23      assist you in answering that question or addressing
  24      that area of testimony?
  25             A.     I know, sir, from the work that I do with

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   1      Foresters, the work that I do with the contestable
   2      claims process, again, to the understanding of the
   3      person that we have involved with that, to my
   4      involvement from time to time and other areas of
   5      discussions with attorneys.
   6             Q.   I am going to let you finish, I promise.
   7      Answer my question first.         My first question is what
   8      did you do and then if it's nothing then I'll ask you,
   9      okay, what do you know from your own knowledge and then
  10      you can go ahead and of course tell me. So let's get
  11      the answer to my question first.             What, if anything,
  12      did you do?    Did you get any email?
  13             A.   Nothing.
  14             Q.   Nothing.    You didn't call the salesman, you
  15      didn't call up sales, you didn't call up the agencies,
  16      you didn't make any inquiry on that other than that one
  17      email that you told me your in-house lawyer sent to
  18      sales and marketing, right?
  19             A.   No. And, actually, the answer to that is I
  20      did make one inquiry and the inquiry was, and this is
  21      what I was trying to explain before, but I had
  22      forgotten that David Sullivan, Ian and I did talk in
  23      preparation for this deposition to -- for me to get
  24      some understanding and hear his explanation of
  25      knowledge and belief and the claims practice, so I

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   1      apologize for not providing that earlier. So that was
   2      the inquiry.
   3             Q.   Okay.   So we will deal with that in a second.
   4      That had nothing to do with this, but I'll come back to
   5      your talking to David Sullivan in a minute.
   6             A.   Sure.
   7             Q.   Right now all I'm asking you is did you do
   8      anything to determine Foresters' intent, assuming that
   9      one even exists, to pay claims on life insurance
  10      policies if the applicant dies during the first two
  11      years other than what you knew in your head?
  12             A.   No, I made no further effort.
  13             Q.   Okay.   And did you -- strike that.         You've
  14      already told me that when -- well, strike that.             Do you
  15      know what Foresters' intent is to pay claims during the
  16      first two years if the applicant dies during that
  17      period?
  18             A.   Our intent is to pay all claims that are
  19      payable within the first two years.
  20             Q.   And with respect to a situation where the
  21      insured dies within the first two years, do I
  22      understand that your testimony is it is your intent to
  23      pay those claims if, in fact, the insured answered
  24      questions to his or her best knowledge and belief, if
  25      that's true?

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   1             A.   That's correct.
   2             Q.   Okay.    Now, I asked you in probably two,
   3      three, four different ways in the morning session here
   4      about David Sullivan and what you did and who you spoke
   5      with and on each one of those occasions you told me you
   6      had not spoken with David Sullivan; correct?
   7             A.   Yes.    If you asked me two, three, four times
   8      then my answer was the same each time so correct.
   9             Q.   And you remembered telling me on each one of
  10      those occasions you did not speak to him; correct?
  11             A.   If that's the written testimony, then
  12      correct.
  13             Q.   I'm asking you what you recall, don't you
  14      recall giving me that testimony that you didn't speak
  15      to him?
  16             A.   I recall telling you that we spoke a number
  17      of months ago before his deposition and then you asked
  18      me who I spoke with prior to this deposition and the
  19      answer for that question was our counsel. And then I
  20      saw the answers to the responses, questions to and from
  21      Matt Berman and Veronique and what I had failed to
  22      remember at the time is that David Sullivan and I and
  23      Ian had a conversation about knowledge and belief and
  24      David explained the process.          So I guess in my mind I
  25      was putting --

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   1             Q.   When was this?
   2             A.   Last week some time.
   3             Q.   So I specifically asked you if you had a
   4      conversation with David Sullivan, you told me, no, and
   5      yet you did have a conversation with him last week; is
   6      that accurate?
   7             A.   Well, what's accurate is that I had
   8      conversation with Ian Collins where David Sullivan was
   9      present and so, in my mind, I placed that as a
  10      conversation with counsel, with David Sullivan.             So I
  11      did not have that conversation with David, just David
  12      and I, Ian was involved as well.
  13             Q.   Okay.   So then why is it that now after lunch
  14      you're coming back and you're telling me, well, you
  15      know what, I did have a conversation with David
  16      Sullivan and I'll ask you about that obviously in a
  17      minute, why is it that you're changing your testimony?
  18                  MS. PETT:    Object to the form.
  19                  BY MR. GREENE:
  20             Q.   You can answer.
  21             A.   I recalled it during lunch as I was going
  22      back over the question that led up to the lunch break
  23      with respect to what I perceive to be your question of
  24      somebody providing the promise of paying a death claim
  25      prior to a death even happening, I was going back

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   1      through that over my head or in my head rather and I
   2      then recalled the conversation that Ian and David and I
   3      had last week.
   4             Q.   Okay.   You agree with me that in terms of
   5      conveying David's answers to questions -- strike that,
   6      let me rephrase. You agree with me that in conveying
   7      Mr. Sullivan's answers to questions, his belief
   8      regarding best knowledge and belief, his understanding
   9      regarding best knowledge and belief that Mr. Sullivan
  10      is better able to convey that to me than you are?
  11             A.   I can only say that David explained the
  12      process to me and I, out of my own understanding of the
  13      process --
  14             Q.   Answer my question, Mr. Parrott.
  15                  MS. PETT:    Craig, don't interrupt the
  16      witness.
  17                  MR. GREENE:     I'm not going to have him --
  18                  MS. PETT:    Don't interrupt him when he is
  19      speaking.
  20                  MR. GREENE:     Well, let's do this because then
  21      we will go into not only tomorrow but the next day.              I
  22      am happy to listen to Mr. Parrott's answer, but I need
  23      him to answer my question then he can go on for days.
  24      But I need an answer to my question first, please,
  25      because all I'm going to do is just have to circle back

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   1      around and then ask him the same thing.               So, Madam
   2      Court Reporter, can you please read the question and
   3      then, Mr. Parrott, answer my question and then if you
   4      need to explain because yes or no isn't full or
   5      accurate, please do that, but I need an answer. Madam
   6      Court Reporter, can you read back the question.
   7                  (Thereupon, the above-referred to question was
   8      read back by the court reporter.)
   9                   MR. GREENE:     I'll reask it. Tell me when you
  10      are back on keyboard.
  11                   THE COURT REPORTER: Okay. I'm back on.
  12                   BY MR. GREENE:
  13             Q.    Okay. Do you agree with me that in terms of
  14      conveying Mr. Sullivan's answers, his understanding,
  15      what he meant to tell about best knowledge and belief
  16      that David Sullivan is in a better position to tell me
  17      what David Sullivan means than you?
  18             A.    In the claims practice, yes.
  19             Q.    Well, isn't David Sullivan in a better
  20      position to tell me what David Sullivan means on
  21      everything?
  22             A.    I just answered your question.            No -- well,
  23      David, we are one team in an operation of a life
  24      insurance company.      We don't do things that are
  25      different, we do things that are complimentary to one

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   1      another.    So with respect to the claims side David has
   2      the best answer for you with respect to knowledge and
   3      belief of the claims process.            He would probably argue
   4      that I have the best knowledge and belief perspective
   5      from the underwriting process.
   6             Q.   Well, that's fine, but I didn't ask you that
   7      question.    I'm asking you about David Sullivan's
   8      answers about what he understands.               So David was in a
   9      better position to tell me answers to my questions as
  10      he understood them then you are eight months later,
  11      right?
  12             A.   Sir, it's a confusing question, but David can
  13      speak to David better than I can speak to David.
  14             Q.   You did understand my question and you
  15      phrased it better than I did so thank you. Okay. Now, I
  16      want you to tell me, as best you can recall, word for
  17      word the conversation between you and David and Ian?
  18             A.   Last week?
  19                  MS. PETT:    We are not going to tell what Ian
  20      said so you can tell him what you and David discussed,
  21      Ian was just there.      We are not going to disclose
  22      anything like that.
  23                  MR. GREENE:     Let's do this, Tina, let's you
  24      and I talk about this so we don't talk about it in
  25      front of the witness.       Normally I would ask the witness

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   1      to step out so we can talk about it, but let's put
   2      everybody on -- let's put you and I on mute and I'll
   3      call you to see if we can resolve this because this is
   4      something that could get sloppy. What's your cell?
                                       REDACTED
   5                  MS. PETT:                   -
   6                  MR. GREENE: Yep.
   7                  MS. PETT:      REDACTED

                                                      REDACTED
   8                  MR. GREENE:          Yep.                  You are on mute.
                          REDACTED
   9      There you go.
                                     REDACTED
  10                  MS. PETT:                 .
                                           REDACTED
  11                  MR. GREENE:                       Okay. Everyone, I'm going
  12      to go off and Tina is going to go off and we will be
  13      back in a second.
  14                  THE VIDEOGRAPHER: We are going off the
  15      record. The time on the video monitor is 2:06 p.m.
  16                  (Thereupon, a brief recess was had at 2:06
  17      p.m.)
  18                  (Thereupon, the following proceedings were
  19      had at 2:08 p.m.)
  20                  THE VIDEOGRAPHER:                 We are back on the record.
  21      The time on the video monitor is 2:08 p.m.
  22                  BY MR. GREENE:
  23             Q.   Mr. Parrott, with respect to your
  24      conversation with David Sullivan, which one of the four
  25      areas of inquiry -- well, strike that.                        Did you speak

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   1      with him in an effort to prepare you for answering one
   2      of these or all four of these areas of inquiry?
   3             A.   Can I have the benefit of seeing those four
   4      areas?
   5             Q.   I can show them to you.           Let's see if I have
   6      it on a screen, hold on a minute.
   7             A.   Okay.
   8             Q.   Well, first, let's ask the general question,
   9      I'm sorry, I do have it, yes.           Let's ask the general
  10      question, do you know if your conversation with David
  11      or Mr. Sullivan was actually to prepare you for any of
  12      these areas?
  13             A.   Yes.
  14             Q.   Okay.   Then I'm going to put it on the screen
  15      for you and let's see if you can -- those are the areas
  16      with the exception of number one instead of Rigoberto
  17      Vinas it says the insured. Read through them all and
  18      then tell me which one, if any.
  19             A.   None of them actually.
  20             Q.   Okay.   So then now I'll reask the question so
  21      that we can get an accurate answer.                 If I understand
  22      correctly your conversation with Mr. Sullivan was not
  23      to assist you in providing testimony with respect to
  24      any of these areas of inquiry; correct?
  25             A.   No, not of these that are listed 1 through

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   1      4A.
   2             Q.     What I said is right?
   3             A.     Correct.
   4                    MR. GREENE: Tina, let's get back on the
   5      phone.      I'm putting myself on stop video.
   6                    THE VIDEOGRAPHER: We are going off the
   7      record, the time on the video monitor is 2:11 p.m.
   8                         (Thereupon, a brief recess was had at
   9      2:11 p.m.)
  10                    (Thereupon, the following proceedings were
  11      had at 2:13 p.m.)
  12                    THE VIDEOGRAPHER: We are back on the record,
  13      the time on the video monitor is 2:13 p.m.
  14                    BY MR. GREENE:
  15             Q.     We are going to just set a record now.
  16      Mr. Parrott, will you please tell me the substance of
  17      the conversation that took place between you and Mr.
  18      Sullivan and/or Mr. Ian? I'm sorry, Ian, half your name
  19      got chopped, Collins.       Would you please tell me the
  20      substance of that conversation.
  21                    MS. PETT: I'm going to object and tell him
  22      not to answer that question because that question is
  23      governed by the attorney-client privilege because we
  24      are not disclosing any conversations between
  25      Mr. Collins and Mr. Parrott.

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   1                  BY MR. GREENE:
   2             Q.   Okay.   Now we are back to where we were 15
   3      minutes ago which is do you know -- well, let's back
   4      up.    You haven't made any inquiry from anybody else as
   5      to Foresters' intent to play claims during the first
   6      two years of the contestability period, right?
   7             A.   I have not.
   8             Q.   You haven't received any input from anybody
   9      about that; correct?
  10             A.   I have not.
  11             Q.   One second.     What thought have you given, if
  12      any, to Foresters' intent to pay claims on life
  13      insurance policies if the applicant dies during the
  14      first two years prior to the depo, have you thought
  15      about it in your own mind?
  16             A.   No.
  17             Q.   Who is your immediate supervisor?
  18             A.   Diane Fox (phonetic).
  19             Q.   What's her title, I'm sorry?
  20             A.   Chief operating officer.
  21             Q.   And who does she report to?
  22             A.   The president.
  23             Q.   Are you familiar, do you know David's
  24      supervisor, Mr. Sullivan?
  25             A.   Same supervisor, Diane Fox.

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   1             Q.   Okay. So you and he are on the same level, he
   2      in terms of claims, you in terms of underwriting?
   3             A.   That's correct.
   4             Q.   I want you to assume for a minute that the
   5      claims department when it got Mr. Vinas's claim did not
   6      seek to determine what his best knowledge and belief
   7      was.    I understand that you may disagree with that, I
   8      understand you may have been told other things by your
   9      lawyer, but for the purposes of this question I want
  10      you to assume that, can you do that?
  11             A.   To assume that best knowledge and belief was
  12      not implemented or in play, do I understand that
  13      correctly?
  14             Q.   No. I'm going to tell you more specifically.
  15      I want you to assume that when the claim came in to
  16      Foresters' claim department that the claim folks did
  17      not attempt to determine what Foresters' best knowledge
  18      and belief was.
  19             A.   Okay.
  20             Q.   Rather they only sought to determine whether
  21      or not there was or was not a diagnosis of a particular
  22      condition, okay?
  23             A.   Okay.
  24             Q.   Do you have any knowledge, one way or the
  25      other sitting here today, as to whether that was a

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   1      single incident of not making that inquiry or whether
   2      that was a regular course of conduct by the Foresters'
   3      claim department?
   4                  MS. PETT:    Objection to the form.
   5                  BY MR. GREENE:
   6             Q.   You can answer.
   7             A.   I have no knowledge, no specific knowledge
   8      other than the application review with respect to the
   9      Vinas claim. But as I understand -- as I understand the
  10      practice and the process, best knowledge and belief is
  11      built in, it's inherent in what they do.            It's not a
  12      check box, but it's inherent in what they do.
  13             Q.   You answered my question in the beginning
  14      which is you have no knowledge of your own; correct?
  15             A.   Correct.
  16             Q.   If you on the underwriting side were to learn
  17      that what I said is accurate, I understand that you
  18      don't believe that to be the case, but if you were to
  19      learn that what I said was accurate that, in fact, the
  20      claims folks weren't interested in determining what
  21      Mr. Vinas's best knowledge and belief was when he
  22      filled out the application, but rather only whether or
  23      not he had diabetes or not, what, if anything, would
  24      you do as the head honcho of underwriting for
  25      Foresters?

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   1                  MS. PETT:    Object to the form.
   2                  THE WITNESS: Is this a specific question to
   3      Vinas or as general practice?
   4                  BY MR. GREENE:
   5             Q.   That's a great question and that's a good
   6      clarification and I'm always subject to that.            So let's
   7      do it one at a time.       If in this case you were to find,
   8      as the head honcho of underwriting, and you know what I
   9      mean by that, right, I'm not being disrespectful, you
  10      are, you are the head honcho.
  11             A.   Understood.
  12             Q.   If you were to find, as the head honcho of
  13      underwriting, that the folks that looked at and
  14      investigated Mr. Vinas's claim expressly did not look
  15      into what his best knowledge and belief was, in fact,
  16      said that they weren't investigating that, that all
  17      they were looking at was whether or not he had
  18      diabetes.    If you were to learn that and assuming it
  19      was true, would you take any action from the
  20      underwriting perspective?
  21             A.   I would have a problem with that just as an
  22      officer of the company.
  23                  MS. PETT:    Form.
  24                  BY MR. GREENE:
  25             Q.   And why would you have a problem with that as

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   1      an officer of the company?
   2             A.   As an officer of the company I have a bigger
   3      responsibility than the area in which I am responsible
   4      for.    So that in terms of the practice would not be in
   5      line with who we are.
   6             Q.   Because if that's true, and I understand
   7      everything you just said, because if what I said is
   8      true, then the policy would have been sold under, let's
   9      say, false pretenses or with a representation that
  10      wasn't true; fair?
  11                  MS. PETT:    Objection to the form.
  12                  BY MR. GREENE:
  13             Q.   You can answer.
  14             A.   That's the intent or that's the goal of the
  15      contestable review to make sure that what we learned at
  16      the front end when the case was issued is indeed
  17      accurate on the back end.         If it's accurate to what we
  18      knew on the front end a claim would be paid.
  19             Q.   And the standard for accuracy per Foresters
  20      own application is the insured's best knowledge and
  21      belief, whether they are telling the truth or not,
  22      right?
  23             A.   That is correct.
  24             Q.   The answer to my next question is self
  25      evident based upon the answer to my prior, but you were

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   1      correct to break it up so I'm going to expand it.             If
   2      you were to find that the folks doing the claim
   3      investigation were not looking into the insureds, not
   4      just Mr. Vinas, the bigger package of people, best
   5      knowledge and belief, but instead were looking only to
   6      determine if the insured had left off a diagnosis or
   7      misrepresented a diagnosis even if they didn't know
   8      about it, I assume that your answer would be the same,
   9      you would be troubled by that?
  10                  MS. PETT:    Objection to the form.
  11                  THE WITNESS: That's correct. That's correct.
  12                  BY MR. GREENE:
  13             Q.   For the same reasons?
  14             A.   Correct.
  15             Q.   Instead of me going through.
  16             A.   Because an officer of the company, correct,
  17      which is a far bigger role than just my own.
  18             Q.   You will pardon me for asking this question
  19      but it's just standard, how old are you, sir?
  20             A.   57, I think.     Is it 2020?            57.
  21             Q.   I'm only laughing because as I got closer and
  22      closer to those high 50s I did literally start
  23      forgetting on purpose.
  24             A.   I can't do the math.
  25             Q.   I started saying 57, 58, 59, they are all

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   1      kind of that late 50s, I am not really going to worry
   2      about it.
   3             A.   Right.
   4             Q.   That's the only reason I was laughing with
   5      you.    Okay.   As a corporate representative both sitting
   6      here today as assigned one and in the role that you
   7      were talking about earlier that you have a bigger role
   8      than just an employee of Foresters, you would expect
   9      that your sales force out there, the independent agents
  10      that you refer to in your web page, would be doing
  11      their best to accurately explain the terms of
  12      Foresters' products; correct?
  13             A.   Yes.   That's the requirement of them being
  14      contracted with us.
  15             Q.   And with respect to the contestability
  16      provisions you would have no problem with a sales agent
  17      for Foresters explaining those terms to an insured,
  18      would you?
  19             A.   That's correct.
  20             Q.   Do you expect as a company that in the same
  21      way that you rely upon the insured's representations of
  22      the accuracy of their application questions that the
  23      insureds are going to rely upon the explanations that
  24      are given to them by your sales force?
  25                  MS. PETT:    Objection to the form.

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   1                  THE WITNESS: We would expect that.          Yes, we
   2      would expect that.
   3                  BY MR. GREENE:
   4             Q.   I'm going to ask that question, the identical
   5      question but differently.
   6             A.   Okay.
   7             Q.   Only because Ms. Pett objected to the form
   8      and I'm not certain if she's right or not, but I don't
   9      want to have to bring you back here again.            So would it
  10      be fair to state that Foresters expects that
  11      prospective insureds will rely upon the statements that
  12      are made by Foresters sales force during the
  13      presentation of the product?
  14                  MS. PETT:    Object on the same grounds.
  15                  MR. GREENE:     Okay.      Then obviously I didn't
  16      anticipate your correct objection, sorry, Tina.
  17                  BY MR. GREENE:
  18             Q.   Okay.   Do you have knowledge, Mr. Parrott, as
  19      to other than giving the sales agents the applications
  20      that have the Foresters' logo on top, what other, and
  21      this is going to be a really generic question, what
  22      other stuff the sales agents are given by Foresters to
  23      help them in selling your product?
  24             A.   They get various product guides of products.
  25      Our marketing area, Veronique and her team, do a really

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   1      good job of putting out printed marketing materials but
   2      also digital marketing help.          We have a 40-some page
   3      fully underwritten, a field underwriting guide which
   4      helps the producers and agents, helps them to
   5      understand underwriting and perhaps what questions we
   6      are looking for, bill charts, how we might handle
   7      certain things, certain drugs and how we might handle
   8      those particular prescription drugs on our various
   9      product lines.      Again, the initial training that comes
  10      out with respect to a newly contracted producer so
  11      there's various and many, many opportunities for that
  12      kind of information to be shared.
  13             Q.   Is there anything that you are aware of in
  14      any of that material that addresses what the sales
  15      agent is or is not authorized to represent to the
  16      insured -- well, prospective insured might be a better
  17      way to put it.
  18             A.   Help me understand what you mean, what they
  19      are expected to represent.
  20             Q.   Okay.    Is there anything in any of the sales
  21      material that the sales -- strike that.             Is there
  22      anything in any of the promotional or marketing
  23      material that the sales force is given that says here's
  24      what you're authorized to represent to an insured,
  25      here's what you are not, stay away from this, we are

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   1      good with you talking about that.             I don't have it in
   2      front of me so I'm trying to give you a generic area of
   3      inquiry.
   4             A.   Generally the information that they receive
   5      through the marketing area and sales area is
   6      information that can be shared.            So there are no
   7      documents or lists out there that I'm aware of that
   8      says talk about this but not this.
   9             Q.   Are you aware of any documents or materials
  10      that address the topic that we've been focusing on this
  11      morning and this afternoon, specifically the insured
  12      answering questions to his or her best knowledge and
  13      belief?
  14             A.   Ask the front part of that question again.
  15             Q.   Sure.   Are you aware if any of this material
  16      that the marketing sales team is given addresses the
  17      topic that we've been focusing on this morning and this
  18      afternoon specifically the insured answering questions
  19      to his or her best knowledge and belief and how that
  20      will be treated by Foresters?
  21             A.   No.   And Veronique confirmed that they don't
  22      have that information.
  23             Q.   Basically, it's what's literally written
  24      there in the application and the certification by the
  25      producer that they haven't misrepresented anything.

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   1             A.   That is correct.
   2             Q.   Those are the only two references in any
   3      written material that you're aware of, fair?
   4             A.   That is correct and the marketing, the
   5      applications aren't ownership of the marketing areas so
   6      Veronique's question is accurate, those applications
   7      are owned by the product group.
   8             Q.   Have you ever sat in on a mock sales
   9      presentation or had any input into that kind of thing
  10      like here's how we might be able to better sell the
  11      product, things of that nature?
  12             A.   Yes.
  13             Q.   When a sales representative is going to a
  14      prospective insured's home it is fair for that sales
  15      representative to advise the insured that they are
  16      there on behalf of Foresters; is that fair?
  17             A.   That is correct.
  18             Q.   From the prospective insured's position the
  19      prospective insured is not expected to distinguish
  20      between whether that person is technically employed by
  21      an intermediate agency but only selling on behalf of
  22      Foresters or not, would that be true?
  23                  MS. PETT:    Objection to the form.
  24                  BY MR. GREENE:
  25             Q.   You can answer.

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   1             A.   I wouldn't think so.         They would have
   2      knowledge that this person is representing Foresters.
   3             Q.   And that's the way Foresters wants it, right?
   4             A.   Correct.
   5             Q.   Other than the generic statement that I think
   6      you gave earlier that Foresters' intent with respect to
   7      paying claims during the first two years of a policy is
   8      to pay those claims consistent with the policy and the
   9      application, do you have any further testimony
  10      regarding Foresters' intent in that regard?
  11             A.   No.   Again, we will pay those that are
  12      payable with respect to verification of application
  13      information and making sure that there are no material
  14      misrepresentations.
  15             Q.   That's what you, on behalf of Foresters,
  16      believe is or should be Foresters' policy, correct, and
  17      I don't mean policy as the insurance policy, I mean
  18      your corporate policy?
  19             A.   That is our corporate policy.
  20             Q.   And that is the reason putting two areas of
  21      inquiry here in this deposition together, why if the
  22      hypothetical I gave you earlier about learning that a
  23      claims person was not inquiring into an insured's best
  24      knowledge and belief, if that were true, it would
  25      bother you because that would be a violation of your

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   1      policy?
   2             A.   It would bother me as an officer of the
   3      organization because that's not how we do business.
   4             Q.   It would be contrary to what you hope your
   5      policy should be and what you believe it is?
   6             A.   That is correct.
   7             Q.   Following the depositions of Ms. Bucklind and
   8      Mr. Sullivan, are you aware if the claims department
   9      undertook any steps to attempt to ensure that when
  10      investigating contestable claims the claims department
  11      is, in fact, looking to determine the insured's best
  12      knowledge and belief rather than simply whether or not
  13      a piece of medical evidence, or age, or something like
  14      that is or is not factually accurate?
  15             A.   I'm not aware.
  16                  MS. PETT:    I'm going to object to the scope,
  17      it goes beyond the scope of this deposition.
  18                  BY MR. GREENE:
  19             Q.   Just to put a cap on that and then I'll leave
  20      it alone, you are not aware either way, whether they
  21      did or they didn't?
  22                  MS. PETT:    Same objection.
  23                  THE WITNESS: Right.
  24                  BY MR. GREENE:
  25             Q.   What I said is right?

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   1                  MS. PETT:    Same objection.
   2                  BY MR. GREENE:
   3             Q.   I don't want to have the double negative.
   4      What I said is right, you are not aware either way?
   5      You can answer.
   6             A.   Answer this or not?
   7                  MS. PETT:    You can say you don't know if you
   8      don't know.
   9                  THE WITNESS: I don't know.
  10                  MS. PETT:    We are not here to testify on
  11      behalf of the company on that issue.
  12                  MR. GREENE:     I got it. I understand.        I just
  13      needed to put a cap on that area, Tina. Okay. We've
  14      been going about an hour, let's take 10 and we are
  15      looking good, Tina. I'm getting through a lot of this
  16      so we are looking good.
  17                  MS. PETT:    Okay.
  18                  THE VIDEOGRAPHER: Going off the record, the
  19      time on the video monitor is 2:42 p.m.
  20                  (Thereupon, a brief recess was had at 2:42
  21      p.m.)
  22                  (Thereupon, the following proceedings were
  23      had at had 3:00 p.m.)
  24                  THE VIDEOGRAPHER: We are back on the record,
  25      the time on the video monitor is 3 p.m.

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   1                  BY MR. GREENE:
   2             Q.   I've looked through these four categories
   3      again that you were designated to be here on and I want
   4      to see if I can kind of summarize what I've learned
   5      this morning.      I'm going to put them up for you so you
   6      can meaningfully follow.        Is that good for you?
   7             A.   Yes.
   8             Q.   Okay. Great. Let's start with number four.
   9      Read it to yourself and tell me when you're done.
  10             A.   Okay. I'm done.
  11             Q.   After, if I understand correctly, after doing
  12      whatever investigation Foresters felt was appropriate
  13      to prepare you for this deposition it's your testimony
  14      that the folks in sales, marketing, or underwriting do
  15      not know and did not engage in finding out what the
  16      claims department was doing whether they were or were
  17      not adhering to determining the insured's best
  18      knowledge and belief during the claim; is that correct?
  19             A.   That's correct.
  20             Q.   With number three, I'll let you read that and
  21      tell me when you're done.
  22             A.   Okay.
  23             Q.   If I understand, after doing the
  24      investigation that you did and whatever Foresters felt
  25      was appropriate in order to prepare you for today's

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   1      deposition, you determined that there was no
   2      communication between any of Foresters' employees
   3      involved in underwriting of the policies and employees
   4      in the claims department or the independent agents
   5      about the practice of investigating or not
   6      investigating knowledge and belief at the time of
   7      claim; correct?
   8             A.   I read this as not mutually exclusive, that
   9      is to say this question, as I read it, says
  10      communication between Foresters employees involved in
  11      underwriting of life insurance policies.
  12             Q.   You have to read slow reading on the record,
  13      our court reporter will lose you.
  14             A.   I'm sorry, let me start again.          Communication
  15      between Foresters' employees involved in the
  16      underwriting of life insurance policies and employees
  17      in the claims department and/or independent insurance
  18      agents about Foresters' practice of investigating (or
  19      not investigating), at the time an application is
  20      evaluated and issued, the applicant's knowledge and
  21      belief about the accuracy of the information provided
  22      in the application.      I can tell you that from the
  23      respect of the underwriting part of it we indeed do
  24      determine that.     That is to say that we rely on the
  25      disclosures in the statements made in the application

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   1      as well as disclosures in the signature of the
   2      applicant to be a true and accurate assessment of their
   3      health history.     If we have MIB information, if we have
   4      prescription history, if we have some other information
   5      that disputes that then we search out what the truth is
   6      as far as that's concerned.          So from the underwriting,
   7      excuse me, that is how it works within the underwriting
   8      practice regarding this part of the question.            As far
   9      as the claims department is concerned --
  10             Q.   What part of the claims department?
  11             A.   The first part of the first sentence because
  12      the communication between Foresters' employees there's
  13      nothing that ties it to me unless I'm misreading this
  14      question, there's nothing that ties this to the claims
  15      team because it's about at the time an application is
  16      evaluated and issued, the applicant's knowledge and
  17      belief about the accuracy of the information provided
  18      in the application.      We don't notify claims when we are
  19      underwriting an application.          We don't -- we work with
  20      the insurance producer with respect to whatever the
  21      decision may be, but as far as the time frame of an
  22      application being evaluated and issued that is the
  23      aspect of the underwriting and we indeed do apply
  24      belief and knowledge.
  25             Q.   I didn't suggest otherwise.

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   1             A.   Okay.   I mean, the answer was a one word
   2      response.    I thought you were looking for a one word
   3      response, with respect to underwriting it's not, the
   4      answer is, no, or the answer is that we do absolutely
   5      evaluate knowledge and belief.
   6             Q.   Okay.   And you're talking about at the time
   7      that you underwrite the claim?
   8             A.   No, at the time we underwrite the application
   9      because that's what the question asked.
  10             Q.   My bad.    Yes. I misspoke, you're right.         It's
  11      at the time that you underwrite the application.
  12             A.   Correct.    And there's no other time frame,
  13      obviously, when claims gets involved they are looking
  14      to confirm that what was stated on the front end is
  15      true on the back end.
  16             Q.   I understand, but Ms. Pett and I were there
  17      when the Judge dictated this so I'm going to kind of
  18      focus on what I think he was allowing us to inquire
  19      about.
  20             A.   Okay.
  21             Q.   With the understanding that you may read it
  22      differently, okay?
  23             A.   Okay.
  24             Q.   Are you aware of any communications between
  25      any of Foresters' employees that are involved in the

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    1      underwriting of life insurance policies, okay, so your
    2      underwriting department, okay?
    3             A.   Yes.
    4             Q.   And employees in the claims department or any
    5      independent insurance agents, so we are talking about
    6      communications between underwriting and either claims
    7      or the independent agents, with me so far?
    8             A.   Yes.
    9             Q.   About whether or not Foresters investigates
   10      or doesn't investigate the insured's best knowledge and
   11      belief as provided in the application.
   12             A.   It's not a one word answer, sir, and let me
   13      tell you why.      If we come up with information by way of
   14      them might be a prescription history, the independent
   15      insurance agent is going to know about it because we
   16      are going to ask for additional information and he's
   17      going to say why.     And we will refer to the fact that
   18      we got an MIB code or prescription history is
   19      inaccurate.    So to that point the independent agent
   20      will get involved if something comes up in
   21      underwriting. We don't communicate with claims in any
   22      way, shape or form.
   23             Q.   Okay. All right. Well, except at claim time,
   24      right?
   25             A.   Except at claim time, that's accurate.

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    1             Q.   All right. So then we can jump to the second
    2      part and say the underwriting -- strike that.            We can
    3      jump to the second part and say that in terms of all
    4      the information you gathered that Foresters felt was
    5      appropriate for you to be able to testify here today
    6      you are not aware of any communications, interaction or
    7      otherwise between the folks in the underwriting
    8      department and the claims department with respect to
    9      whether you guys, meaning Foresters, does or does not
   10      investigate the insured's best knowledge and belief at
   11      claim time; correct?
   12             A.   That is correct.
   13             Q.   With respect to the sales department that
   14      there will be some communication back and forth
   15      depending upon what you find in the underwriting
   16      process at application time.
   17             A.   Not to the sales department.
   18             Q.   I'm sorry.
   19             A.   It would be to the agent only by way of
   20      notification that additional information is required.
   21      We don't tell him what we found, that would go against
   22      HIPAA and privacy laws.
   23             Q.   Understood.     Anything beyond those two
   24      things?
   25             A.   No.

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    1             Q.   You and I have already talked about
    2      Foresters' intent with respect to paying claims, your
    3      intent as to follow the policy and the authorized
    4      representations by the agent; correct?
    5             A.   Correct.
    6                  MS. PETT:    Objection to the form.
    7                  BY MR. GREENE:
    8             Q.   Number one, the inquiries that Foresters
    9      makes into the underwriting process or any underwriting
   10      process about knowledge and belief of the insured
   11      concerning information provided in the life
   12      applications, you've indicated that the underwriters
   13      make no such inquiry; correct?
   14             A.   No, I disagree.
   15             Q.   All right.    Let me rephrase.          Other than what
   16      you just told me about, that whole process you just
   17      walked me through.
   18             A.   Correct.    The process of the application and
   19      the background information, et cetera, we do evaluate
   20      knowledge and belief.
   21             Q.   Well, hold on a minute.           The insured makes
   22      representations in the application, right?
   23             A.   Correct.
   24             Q.   Tells you, you know, I had a bulging disc,
   25      some back problems, whatever, and when you go -- and

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    1      certifies that the answers are to their best knowledge
    2      and belief, that has to happen before you even get the
    3      file; correct?
    4             A.   It's -- no, the underwriter determines that.
    5      If you're talking about at the time when the agent is
    6      taking the application --
    7             Q.   No, I'm not.
    8             A.   -- I would assume.        Okay.         So, no, once the
    9      case comes in the door that is all determined by the
   10      underwriter.
   11             Q.   You and I are -- these are called the end of
   12      the day shakes.     These are the end of day, we are not
   13      following each other.      Okay.      By the time the
   14      underwriter gets the file to underwrite, the
   15      prospective insured has already stated that the answers
   16      that he or she has given are to his or her best
   17      knowledge and belief, right?
   18             A.   That's correct because -- that's exactly
   19      correct.
   20             Q.   Okay.   And then what you'll do is you'll do
   21      your own investigation at the underwriting side before
   22      the policy is even written and you'll decide if you
   23      want to go ahead and issue the policy, right?
   24             A.   That is correct.
   25             Q.   Sometimes you'll find things were right,

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    1      sometimes you will find things were a little wrong,
    2      sometimes you will find things were very wrong?
    3             A.   Correct.
    4             Q.   And depending upon whether we are a little
    5      wrong, very wrong or perfectly right will decide
    6      whether or not Foresters is going to write the policy
    7      or not?
    8             A.   Right. And at what price, exactly.
    9             Q.   The next time, if at all, that underwriting
   10      gets involved in the process is only during the
   11      contestability period, correct, after the policy is
   12      issued?
   13             A.   Correct, unless there's information.
   14      Sometimes we receive information that comes to us by
   15      way of MIB or prescription history that causes us to
   16      have to open up the file and look at things but, yes,
   17      generally until a claim, a contestable claim.            A
   18      non-contestable claim we don't get involved in.
   19             Q.   Getting back to just a few I's I need to dot
   20      and T's I need to cross on some earlier testimony.             I
   21      will tell you that we were advised that claims has, I
   22      believe it's 3 or 4, I forget the number so I'm
   23      standing uncertain as to 3 or 4 full-time employees
   24      that do only contestable claims, that's their job.
   25             A.   Okay.

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    1             Q.   Let me stop this for a second.             Okay.    They
    2      do only contestable claims.          Do you know enough about
    3      the contestability process to know whether it is
    4      necessary on each of those contestable claims for the
    5      underwriting department to make a determination whether
    6      the alleged misrepresentation was material or not?
    7             A.   No.   We only get involved if claims asks us
    8      to get involved and review something.               They make that
    9      determination.
   10             Q.   And according to you, despite the fact that
   11      there are 3 or 4 full-time claims folks handling just
   12      contestable claims, underwriting, who's responsible for
   13      determining the materiality of the alleged
   14      misrepresentation, has one person only putting in
   15      part-time effort into that; is that accurate?
   16                  MS. PETT:    Object to the form.
   17                  THE WITNESS: About 60 percent of --
   18                  BY MR. GREENE:
   19             Q.   Go ahead.
   20             A.   Sixty percent of her job is that function.
   21      That's the assumption, again, that there's something
   22      wrong. A contestable review is just a contestable
   23      review. If everything is corroborated that claim is
   24      paid, sometimes in pretty quick order.
   25             Q.   That's the way it's supposed to be, right?

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    1             A.   Uh-huh. Yes. So the relevance, again, of my
    2      employee working 60 percent of her particular job
    3      against 3 full-time contestable claim folks there's no
    4      correlation to that in my view, again, because she
    5      doesn't look at all of the contestable claims.
    6             Q.   Let me ask you this, do you agree that in
    7      order for a misrepresentation to be sufficient to
    8      warrant rescission or denial of the claim that
    9      misrepresentation must be material?
   10             A.   Material, yes.
   11             Q.   And materiality means that the insurance
   12      company in this case, Foresters, would either not have
   13      issued the policy or would have issued it for a
   14      different premium; correct?
   15             A.   Correct.   Yes.
   16             Q.   And the only part of Foresters that can
   17      determine materiality is the underwriting department,
   18      correct?
   19             A.   Materiality, in a large and looming way, you
   20      don't need underwriting to make that determination.                  So
   21      let me give you an example, if the application was
   22      completely clean and some person comes in and we
   23      determine they had stage four cancer underwriting
   24      doesn't really need to get involved.                Claims is
   25      completely sufficient and well versed enough to make

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    1      that decision.
    2             Q.   Okay.    So you're now testifying as to a
    3      claims practice, right?
    4             A.   No.    I'm classifying as to the need for
    5      underwriting review of a claim.
    6             Q.   What I'm asking you is, do you know if using
    7      your extreme example that a person said that they had
    8      nothing wrong with them, they were perfectly clean
    9      health, and yet for the past 10 months straight they've
   10      been hooking themselves up for God forbid chemotherapy
   11      every day to get rid of stage four pancreatic cancer,
   12      all right?
   13             A.   Yes.
   14             Q.   As crazy hypo as it is, meaning hypothetical,
   15      that's what we got.      Are you telling me that you can
   16      tell me, sitting here today, that the claim department
   17      would not refer that for a materiality review?
   18             A.   Not something that extreme.             We've not seen
   19      those, that kind of an extreme example.
   20             Q.   I'm asking you what claims does.             Are you in
   21      a better position to tell me that or is David Sullivan
   22      in a better position to tell me that?
   23                  MS. PETT:    Objection to the form.
   24                  BY MR. GREENE:
   25             Q.   You can answer.

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    1             A.   David Sullivan's team makes the determination
    2      as to whether we review that or not.                So his team would
    3      be in a better position to answer that.
    4             Q.   Okay.   So getting back to my original
    5      question that got us here, the only -- strike that.
    6      Getting back to my original question if I understand
    7      correctly, you, in underwriting, will seed, give, the
    8      responsibility for determining materiality to the
    9      claims department if you believe that it's a clear case
   10      of not providing best knowledge and belief?
   11             A.   That's their responsibility, yes, I seed
   12      that.
   13             Q.   Do you know what percentage of the claims,
   14      the contestable claims, fall into that clearly not best
   15      knowledge and belief category?
   16             A.   I don't know that, no.
   17             Q.   Are you familiar with the policy of insurance
   18      at issue in this case meaning the type of policy?
   19             A.   I don't know.     No, I'm not aware of it.
   20             Q.   Okay. So you don't know?
   21             A.   I'm sure I looked at it when I looked at the
   22      application back when, it's on there, but I just
   23      forgotten what it is.
   24             Q.   Would it help you to look at the app?
   25             A.   If you have a question specifically about

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    1      what is the product.
    2             Q.   I'm not doing this because you and I are
    3      having such a good time today.           Yes, I have a question
    4      about it.    Hold on.
    5             A.   Then it would be helpful for me to know which
    6      product.
    7             Q.   Okay.   Hold on.
    8             A.   And actually it's the product page.            The
    9      application itself does not say it's this kind of
   10      product.    There's an attachment called the product page
   11      that tells you what kind of a product it is.
   12             Q.   Well, let's see if we have that then.            That's
   13      not what I was about to bring up.
   14             A.   Okay.
   15             Q.   Okay. I just happen to have this here.            This
   16      is production from Foresters from Counsel.              They are
   17      Bate stamp production, we can identify it that way.
   18      Let's see, bring you back up here.              Just so the record
   19      is clear, I'm showing the witness Foresters' Bate stamp
   20      production.    Tina, take a look at this if you would,
   21      you'll see it's Bate stamped IOF1 through 234. I'm
   22      going to scroll all the way down.
   23             A.   If you go back to the --
   24             Q.   I'm just identifying it, Mr. Parrott.
   25             A.   Okay. I'm sorry.

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    1             Q.   1 through 246 even though the PDF says
    2      there's 234 pages of it.         But that's the document.
    3      Now, I'm going back to page 1, does this help you?
    4             A.   No.   Keep going.
    5             Q.   Tell me when to stop.
    6             A.   Okay.
    7             Q.   There?
    8             A.   No, keep going.        No, that's the application.
    9             Q.   Okay.
   10             A.   Stop.
   11             Q.   This one or the one before?
   12             A.   Try the one before.          No, keep going, I'm
   13      sorry.
   14             Q.   That's okay.
   15             A.   Keep going.
   16             Q.   This one must have it, no?
   17             A.   Maybe, just a second.           It has got plan
   18      numbers, I wish I were up to date on plan numbers, keep
   19      going.
   20             Q.   Don't worry about it.
   21             A.   Stop. Okay. Keep going. Keep going. Keep
   22      going.
   23             Q.   It won't be there, that won't be there.            How
   24      about here?
   25             A.   No.   That's a claim statement.          Keep going.

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    1      Keep going. Universal life contract for $92,000.
    2             Q.   Okay. Are you familiar with how that product
    3      is underwritten?
    4             A.   Yes.
    5             Q.   Okay. It's a little bit different than just
    6      pure underwriting, right?
    7             A.   No.    Universal life, whole life and term
    8      which are three product lines, three main product lines
    9      are underwritten the same.         Our final expense product
   10      is underwritten differently. Actually, our accidental
   11      death is done differently as well as our trial term.
   12             Q.   Let me see if I can describe what we were
   13      talking about.      When this product was described to us
   14      earlier in the other depositions we were told that the
   15      product allows for a certain number of, for lack of a
   16      better term, points to be accumulated.
   17             A.   Was this a non-medical product, 92,000 at
   18      what age was he?      Can somebody tell me that?
   19             Q.   He was 72, 70 or 72 when he applied for it.
   20             A.   Okay.    So it could have been a non-medical
   21      product, it's both sold and underwritten as non-medical
   22      and fully underwritten.       So fully underwritten means he
   23      gets exams and lab work and ABSs and other things.
   24             Q.   I appreciate your willingness to help us out
   25      here, but I'm not going to have you start looking into

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    1      this.       Mr. Sullivan actually went into it in a lot more
    2      depth and I don't want you speculating about it so I'll
    3      move on to a different topic.               Let me get rid of this.
    4                     THE VIDEOGRAPHER: We have about five minutes
    5      left to change media.
    6                     MR. GREENE:     Go ahead and change media
    7      because I am almost done here, but that's a dangerous
    8      thing for a lawyer to represent so go ahead.
    9                     THE VIDEOGRAPHER: We are going off the
   10      record, the time on the video monitor is 3:28 p.m.
   11                     (Thereupon, a brief recess was had.)
   12                     THE VIDEOGRAPHER: We are back on the record.
   13      The time on the video monitor is 2:39 p.m. This marks
   14      the beginning of media unit number three.
   15                     BY MR. GREENE:
   16             Q.      The role of the underwriter in a contestable
   17      investigations we've talked about is to determine
   18      materiality, right?
   19             A.      If the claims team request, yes.
   20             Q.      Yes.   The question that's to be answered --
   21      strike that.       Through your having supervised, my guess
   22      is over your years dozens of underwriters, while they
   23      are given guidelines to follow and rules to follow have
   24      you found that there's some level of subjectivity with
   25      respect to each underwriter, that is, one underwriter

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    1      may allow or issue a policy with a high rating while
    2      another underwriter may have said, no, I don't think we
    3      want to take that one, that kind of thing?
    4             A.   That's correct.       There's a fair amount of art
    5      inside of underwriting.
    6             Q.   And the aspect of -- strike that.         The role
    7      of the underwriter at the time of claim at the claim
    8      department's request is to determine if Foresters would
    9      have, at the time of issuance, issued the policy;
   10      correct?
   11             A.   It stated clearly the role of the underwriter
   12      is to determine if the information that's been
   13      developed would have been material to the decision,
   14      first of all, to issue or not to issue. Secondly, would
   15      have been rated or not rated.
   16             Q.   If I understand correctly, though, despite
   17      the fact that there is a level as you put it of art, as
   18      I put it of some subjectivity to the original
   19      underwriting, only one person is given the job of
   20      determining whether Foresters would have issued the
   21      policy and if so under what terms at contestability
   22      time; correct?
   23             A.   Yes.   That person or that person's back up,
   24      that's correct.
   25             Q.   Is it part of your, meaning underwriting's

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    1      process, to have the contestable underwriter go back
    2      and have the original underwriter look at the file in
    3      order to determine what that original underwriter in
    4      his or her subjectivity or exercise of art would have
    5      done?
    6             A.   No.   That would be a conflict of interest.
    7      Any question of that that would come from a contestable
    8      underwriter would come back through me.
    9             Q.   I am interested in this because I really
   10      haven't thought of it this way, why would it be a
   11      conflict of interest to ask the original underwriter
   12      what he or she would have done if they had known facts
   13      that Foresters is now questioning the materiality of?
   14             A.   Because now you put them in a position of
   15      knowing that there's a claim.           You put them in a
   16      position that could lead their thinking a different way
   17      knowing full well that there is a claim. So we take
   18      that off the table completely. As a matter of fact, for
   19      the contestable underwriter, if she comes across a
   20      contestable claim that she underwrote originally then
   21      she's not allowed to underwrite that on a contestable
   22      basis, that then goes to her back up. That's, again, to
   23      take away all conflict of interest.
   24             Q.   Is there any kind of an incentive program or
   25      bonus program in underwriting?

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    1                   MS. PETT: I'm going to object now because
    2      this is beyond the scope of the notice.               I let you go a
    3      little bit but we are not getting into that.
    4                   MR. GREENE:     Let me tell you why because I
    5      think it does fall within one of the categories and
    6      I'll explain why.     Give us five minutes, guys, and I
    7      will -- let me talk to Tina about it.
    8                   THE VIDEOGRAPHER: We are going off the
    9      record.     The time on the video monitor is 3:34 p.m.
   10                   (Thereupon, a brief recess was had at 3:34
   11      p.m.)
   12                   (Thereupon, the following proceedings were
   13      had at 3:47 p.m.)
   14                    THE VIDEOGRAPHER: We are back on the record.
   15      The time on the video monitor is 3:47 p.m.
   16                   BY MR. GREENE:
   17             Q.    Mr. Parrott, is there any kind of bonus
   18      structure at Foresters with respect to the
   19      underwriters?
   20             A.    Sorry about that.         No.
   21             Q.    Any bonuses are strictly what, are they
   22      objective, are they merit based, how does that work?
   23             A.    Merit based, corporate, expenses, sales,
   24      general corporate things, individual goals.
   25             Q.    Okay.   Mr. Parrott, thank you for your time.

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    1      I have no other questions.
    2             A.      You're welcome.
    3                     MS. PETT:   Thank you.          We will read.
    4                     MR. GREENE:     Okay. Madam Court Reporter --
    5      well, first let the videographer go ahead and sign us
    6      off.
    7                     THE VIDEOGRAPHER: We are going off the
    8      record. The time on the video monitor is 3:48 p.m.
    9                     (Thereupon, the following proceedings were
   10      had on the steno record only.)
   11                     MR. GREENE:     Madam Court Reporter, we will
   12      order this.       I only need it digitally.             I don't need
   13      paper anymore. I don't need paper.                  I do want to order
   14      the video synced.
   15                     THE VIDEOGRAPHER: Okay.
   16                     MR. GREENE:     So please do whatever you need
   17      to do to do that and a mini is all I need right now.
   18      So I don't need a full copy, just a condensed version
   19      on a PDF.
   20                     MS. PETT:   I would like to order a copy as
   21      well.       Same, etran and a mini.
   22                     MR. GREENE:     Thank you.
   23                     (Thereupon, the videotaped deposition
   24      concluded at 3:50 p.m.)
   25

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    1
    2
    3                    EXCEPT FOR ANY CORRECTIONS MADE
                           ON THE ERRATA SHEET BY ME,
    4                     I CERTIFY THIS IS A TRUE AND
                               ACCURATE TRANSCRIPT.
    5                      FURTHER DEPONENT SAYETH NOT.
                          ___________________________,
    6                                DOUG PARROTT
    7      STATE OF FLORIDA         )
                                    ) SS.
    8      COUNTY OF MIAMI-DADE )
    9      Sworn to and subscribed before me this_____day
           of________,20__.
   10      PERSONALLY KNOWN __________OR ID._____________
   11
                  ____________________________________
   12             Notary Public in and for
                  the State of Florida at Large.
   13             My commission expires:
   14
   15
   16
   17
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    1
                               VERITEXT LEGAL SOLUTIONS
    2                        2 S. Biscayne Blvd., Suite 2250
                                Miami, Florida 33131
    3                           Phone: (800)726-7007
                                Fax: (305)377-1100
    4
           October 23, 2020
    5
           TO:         DOUG PARROTT
    6                  c/o Kristina B. Pett, Esq.
                       McDowell Hetherington LLP
    7                  2101 N.W. Corporate Blvd., Suite 316
                       Boca Raton, FL 33431
    8
           Re:      DIGNA VINAS vs THE INDEPENDENT ORDER OF
    9               FORESTERS
           Depo of: DOUG PARROTT
   10      Taken:   October 13, 2020
           Number of Pages: 119
   11      Available for Reading until November 23, 2020
   12      Dear DOUG PARROTT,
   13           This is to advise you that the transcript of your
           deposition is completed and is available at this time
   14      for your reading and signing.
                Please arrange to conclude this matter at your
   15      earliest convenience. We would suggest that you
           telephone this office and arrange an appointment
   16      suitable for all concerned, or you may arrange to
           receive a copy of your transcript from any of the
   17      attorneys on the case.
                However, if the reading and signing has not been
   18      concluded prior to the above-referenced date, I shall
           then proceed to file the original of said transcript
   19      with the party who took the deposition, without further
           notice to any parties.
   20           Your prompt attention to this matter is
           appreciated.
   21
                                          Sincerely,
   22
   23                                     NANCY D. SMITH, RPR
           cc:
   24
   25

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    1                         ERRATA SHEET
           Re:      DIGNA VINAS v THE INDEPENDENT ORDER OF
    2               FORESTERS
           Depo of: DOUG PARROTT
    3      Taken:   October 13, 2020
    4      DO NOT WRITE ON TRANSCRIPT ENTER ANY CHANGES HERE
    5      Page #   Line #       Change          Reason
           ______l__________l_________________l_____________
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   18
           ______l__________l_________________l_____________
   19
   20      STATE OF FLORIDA)
           COUNTY OF MIAMI-DADE )
   21
           Under penalties of perjury, I declare that I have read
   22      my deposition transcript, and it is true and correct
           subject to any changes in form or substance entered
   23      here.
   24      _______________          _______________________
           Date                     Signature
   25

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